   Case 1:25-cv-00206        Document 1       Filed 05/13/25      Page 1 of 79 PageID #: 1




                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


 STATE OF ILLINOIS; STATE OF
 CALIFORNIA; STATE OF NEW JERSEY;
 STATE OF RHODE ISLAND; STATE OF
 COLORADO; STATE OF CONNECTICUT;
 STATE OF DELAWARE; STATE OF
 HAWAIʻI; STATE OF MAINE; STATE OF
 MARYLAND; COMMONWEALTH OF
 MASSACHUSETTS; PEOPLE OF THE
 STATE OF MICHIGAN; STATE OF
 MINNESOTA; STATE OF NEVADA;
 STATE OF NEW MEXICO; STATE OF
 NEW YORK; STATE OF OREGON;
 STATE OF VERMONT; STATE OF
 WASHINGTON; STATE OF WISCONSIN,

                           Plaintiffs,
                                                            No. 1:25-cv-__________
    v.

 FEDERAL EMERGENCY
 MANAGEMENT AGENCY; UNITED
 STATES DEPARTMENT OF HOMELAND
 SECURITY; UNITED STATES COAST
 GUARD; DAVID RICHARDSON, in his
 official capacity as Senior Official
 Performing the Duties of the Administrator
 of the Federal Emergency Management
 Agency; KRISTI NOEM, in her official
 capacity as Secretary of the Department of
 Homeland Security; and KEVIN E.
 LUNDAY, in his official capacity as Acting
 Commandant of the U.S. Coast Guard,

                           Defendants.


              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

         1.    For decades, state and local governments have relied on federal funding—totaling

billions of dollars annually—to prepare for, protect against, respond to, and recover from

catastrophic disasters. These grants fund first responders’ salaries and pay for the training they



                                                1
   Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 2 of 79 PageID #: 2




receive. They fund building improvements to ensure houses of worship and schools are not

vulnerable to malicious attacks. They fund computer network testing to identify cyberattack

vulnerabilities. They fund projects to mitigate earthquake and flood risks, and to manage active

large-scale wildfires. They fund search and rescue efforts and food aid after natural disasters. They

pay case managers who work directly with disaster survivors to develop recovery plans.

       2.      Congress created these federal grant programs and appropriates billions of dollars

each year to ensure they are fully funded to meet the Nation’s needs. Many were authorized by

legislation passed in the wake of national emergencies, such as the September 11 terrorist attacks

and Hurricane Katrina, in an effort to strengthen the nation’s preparedness for and response to

emergencies and major disasters.

       3.      Now, the U.S. Department of Homeland Security (“DHS”) and its sub-agencies—

particularly the Federal Emergency Management Agency (“FEMA”), which Congress has tasked

with overseeing the disbursement of federal emergency funds to the States—seek to upend this

emergency management system, holding critical emergency preparedness and response funding

hostage unless States promise to devote their scarce criminal enforcement resources, and other

state agency resources, to the federal government’s own task of civil immigration enforcement

beyond what state law allows (in some States) or requires (in others). Defendants assert a sweeping

entitlement to use state law enforcement officers for federal immigration enforcement,

contravening the basic principle that States “remain independent and autonomous within their

proper sphere of authority.” Printz v. United States, 521 U.S. 898, 928 (1997). And they seek to

require many States to abandon well-considered policies that advance public safety by promoting

trust between law enforcement and immigrant communities as a condition on continued funding

of emergency management programs unrelated to immigration enforcement. By hanging a halt in

this critical funding over States like a sword of Damocles, Defendants impose immense harm on



                                                 2
   Case 1:25-cv-00206         Document 1       Filed 05/13/25     Page 3 of 79 PageID #: 3




States, forcing them to choose between readiness for disasters and emergencies, on the one hand,

and their judgment about how best to investigate and prosecute crimes, on the other.

       4.      Defendants’ grant funding hostage scheme violates two key principles that underlie

the American system of checks and balances: agencies in the Executive Branch cannot act contrary

to the authority conferred on them by Congress, and the federal government cannot use the

spending power to coerce States into adopting its preferred policies. Defendants have ignored both

principles, claiming undelegated power to place their own conditions on dozens of grant programs

that Congress created and bulldozing through the Constitution’s boundary between state and

federal authority.

       5.      In furtherance of this funding hostage scheme, on March 27, 2025 and April 18,

2025, DHS issued new sets of “Standard Terms and Conditions” applicable to all federal awards.

The 2025 Terms and Conditions include, for the first time, new requirements compelling States to

divert their law enforcement resources away from core public safety missions to federal civil

immigration enforcement and to stop operating any program that “benefits illegal immigrants or

incentivizes illegal immigration.”

       6.      DHS cites no statutory authority for these new requirements. Nor could it. The grant

statutes that Congress has passed do not permit DHS to condition all agency funds on an agreement

to cooperate with civil immigration enforcement.

       7.      DHS’s decision to impose this new set of conditions (collectively, the “Civil

Immigration Conditions”) across a range of grant programs is arbitrary and capricious, exceeds its

legal authority, and violates the Spending Clause. The Civil Immigration Conditions impose

requirements that go well beyond the statutory purposes of the grant programs—which were not

designed to further civil immigration enforcement—and exceed the limited bases on which DHS

is permitted to withhold funding. Furthermore, the ambiguity of the conditions frustrates the



                                                3
   Case 1:25-cv-00206          Document 1        Filed 05/13/25      Page 4 of 79 PageID #: 4




States’ ability to know what they are being asked to agree to. DHS seeks to force the States into

an untenable position: Either (1) accept unlawful conditions, allowing the federal government to

conscript state and local officials to enforce federal immigration law and destroying trust between

law enforcement and immigrant communities critical to public safety, or (2) forfeit lifesaving

federal emergency preparedness and response funds, endangering the States and their residents.

       8.      Plaintiffs Illinois, California, New Jersey, Rhode Island, Colorado, Connecticut,

Delaware, Hawaiʻi, Maine, Maryland, Massachusetts, the People of the State of Michigan,

Minnesota, Nevada, New Mexico, New York, Oregon, Vermont, Washington and Wisconsin

(collectively, “Plaintiff States”) bring this action to challenge the adoption of the illegal and

unconstitutional Civil Immigration Conditions. Plaintiff States receive over $3 billion annually

from FEMA to prepare for and respond to emergencies and major disasters—all of which is placed

in jeopardy by DHS’s sweeping new conditions. Plaintiff States seek a declaratory judgment that

Defendants’ adoption of the Civil Immigration Conditions was unlawful, as well as prospective

relief stopping Defendants from taking any actions to implement or enforce the Civil Immigration

Conditions in connection with any grant program administered by DHS or a DHS sub-agency.

                                 JURISDICTION AND VENUE

       9.      The Court has jurisdiction pursuant to 28 U.S.C. § 1331. The Court has authority

to grant declaratory, injunctive, and other relief pursuant 28 U.S.C. §§ 2201-2202 and 5 U.S.C.

§§ 702, 705, and 706.

       10.     Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(2) and 1391(e)(1).

Defendants include a United States officer sued in her official capacity. Plaintiff the State of Rhode

Island is a resident of this judicial district and a substantial part of the events or omissions giving

rise to this Complaint occurred within the District of Rhode Island.




                                                  4
     Case 1:25-cv-00206        Document 1        Filed 05/13/25      Page 5 of 79 PageID #: 5




                                             PARTIES

A.      Plaintiffs

        11.    Plaintiff the State of Illinois, represented by and through its Attorney General

Kwame Raoul, is a sovereign State of the United States of America. As the State’s chief legal

officer, the Attorney General is authorized to act on its behalf of the State in this matter.

        12.    Plaintiff the State of California, represented by and through its Attorney General

Rob Bonta, is a sovereign state in the United States of America. As the State’s chief legal officer,

the Attorney General is authorized to act on its behalf of the State in this matter

        13.    Plaintiff the State of New Jersey, represented by and through its Attorney General,

Matthew J. Platkin, is a sovereign State of the United States of America. As the State’s chief legal

officer, the Attorney General is authorized to act on its behalf of the State in this matter. The

Attorney General is also head of the New Jersey Department of Law and Public Safety, which is

the agency responsible for applying for, obtaining, and disbursing several of the federal grant

awards that are the subject of this litigation. See N.J. Stat. Ann. § 52:17B-2.

        14.    Plaintiff the State of Rhode Island, represented by and through its Attorney General

Peter F. Neronha, is a sovereign State of the United States of America. As the State’s chief legal

officer, the Attorney General is authorized to act on its behalf of the State in this matter.

        15.    Plaintiff the State of Colorado is a sovereign state in the United States of America.

Colorado is represented by Phil Weiser, the Attorney General of Colorado. The Attorney General

acts as the chief legal representative of the state and is authorized by Colo. Rev. Stat. § 24-31-101

to pursue this action.

        16.    Plaintiff the State of Connecticut is a sovereign state of the United States of

America. Connecticut is represented by and through its chief legal officer, Attorney General




                                                  5
   Case 1:25-cv-00206         Document 1       Filed 05/13/25       Page 6 of 79 PageID #: 6




William Tong, who is authorized under General Statutes § 3-125 to pursue this action on behalf of

the State of Connecticut.

         17.   Plaintiff the State of Delaware is a sovereign state in the United States of America.

Delaware is represented by Attorney General Kathy Jennings, who is the chief law enforcement

officer of Delaware.

         18.   Plaintiff the State of Hawaiʻi is a sovereign State of the United States of America.

Hawaiʻi is represented by Attorney General Anne Lopez, who is the chief law enforcement officer

of Hawaiʻi.

         19.   Plaintiff the State of Maine is a sovereign State of the United States of America.

Maine is represented by Attorney General Aaron Frey who is the chief law enforcement officer of

Maine.

         20.   Plaintiff the State of Maryland is a sovereign state of the United States of America.

Maryland is represented by Attorney General Anthony G. Brown who is the chief legal officer of

Maryland.

         21.   Plaintiff the Commonwealth of Massachusetts is a sovereign state of the United

States of America. Massachusetts is represented by Attorney General Andrea Joy Campbell, who

is the chief law enforcement officer of Massachusetts.

         22.   The People of the State of Michigan are represented by Attorney General Dana

Nessel. The Attorney General is Michigan’s chief law enforcement officer and is authorized to

bring this action on behalf of the People of the State of Michigan pursuant to Mich. Comp. Laws

§ 14.28.

         23.   Plaintiff the State of Minnesota is a sovereign state in the United States of America.

Minnesota is represented by Keith Ellison, the Attorney General of the State of Minnesota. The




                                                 6
   Case 1:25-cv-00206          Document 1        Filed 05/13/25       Page 7 of 79 PageID #: 7




Attorney General’s powers and duties include acting in federal court in matters of State concern.

Minn. Stat. § 8.01.

        24.     Plaintiff the State of Nevada, represented by and through Attorney General Aaron

D. Ford, is a sovereign State within the United States of America. The Attorney General is the

chief law enforcement of the State of Nevada and is authorized to pursue this action under Nev.

Rev. Stat. 228.110 and Nev. Rev. Stat. 228.170.

        25.     Plaintiff the State of New Mexico is a sovereign state in the United States of

America. New Mexico is represented by Attorney General Raúl Torrez, who is the chief law

enforcement officer of New Mexico authorized by N.M. Stat. Ann. § 8-5-2 to pursue this action.

        26.     Plaintiff the State of New York, represented by and through its Attorney General

Letitia James, is a sovereign State of the United States of America. As the State’s chief legal

officer, the Attorney General is authorized to act on its behalf of the State in this matter

        27.     Plaintiff the State of Oregon, represented by and through its Attorney General Dan

Rayfield, is a sovereign State of the United States of America. As the State’s chief legal officer,

the Attorney General is authorized to act on behalf of the State in this matter.

        28.     Plaintiff the State of Vermont is a sovereign State of the United States of America.

Vermont is represented by Attorney General Charity Clark, who is the chief law enforcement

officer and is authorized by law to initiate litigation on behalf of the State.

        29.     Plaintiff the State of Washington, represented by and through its Attorney General,

Nicholas W. Brown, is a sovereign state of the United States of America. The Attorney General of

Washington is the chief legal advisor to the State and is authorized to act in federal court on behalf

of the State on matters of public concern. Chapter 43.10 RCW.




                                                   7
     Case 1:25-cv-00206        Document 1       Filed 05/13/25       Page 8 of 79 PageID #: 8




        30.     Plaintiff the State of Wisconsin is a sovereign state in the United States of America.

Wisconsin is represented by Josh Kaul, the Attorney General of Wisconsin. Attorney General Kaul

is the chief law enforcement officer of Wisconsin and is authorized to sue on behalf of the State.

        31.     Plaintiff States have standing to bring this action because Defendants’ imposition

of the Civil Immigration Conditions that are the subject of this action harms the States’ sovereign,

proprietary, and quasi-sovereign interests and will continue to cause injury unless and until

enforcement of this policy is permanently enjoined.

B.      Defendants

        32.     Defendant Federal Emergency Management Agency (“FEMA”) is a federal agency

within DHS that coordinates operational and logistical disaster response and oversees the

administration of many of the federal grant programs at issue in this action.

        33.     Defendant DHS is an agency and executive department of the United States

government and has responsibility for implementing the federal grant programs at issue in this

action, including through FEMA, the United States Coast Guard (“USCG”), and other

subagencies.

        34.     Defendant USCG is a military service and branch of the armed forces of the United

States that operates as a service in DHS unless Congress or the President directs it to operate as a

service in the United States Navy.

        35.     Defendant David Richardson is the Senior Official Performing the Duties of the

Administrator of FEMA (the “Interim FEMA Head”). The Interim FEMA Head is sued in his

official capacity.

        36.     Defendant Kristi Noem (the “DHS Secretary”) is the United States Secretary of

Homeland Security and the federal official in charge of DHS. The DHS Secretary is sued in her

official capacity.




                                                  8
     Case 1:25-cv-00206        Document 1        Filed 05/13/25      Page 9 of 79 PageID #: 9




        37.    Defendant Admiral Kevin E. Lunday is the Acting Commandant of the United

States Coast Guard (the “Acting Commandant”). The Acting Commandant is sued in his official

capacity.

                                         ALLEGATIONS

A.      Congress Has For Decades Supported State Emergency Preparedness, Response,
        and Recovery, and States and Their Residents Rely Heavily on That Support.

        38.    The federal government has provided disaster relief funding to States since at least

the enactment of the Federal Disaster Relief Act of 1950, which Congress passed to “provide an

orderly and continuing means of assistance by the Federal Government to States and local

governments in carrying out their responsibilities to alleviate suffering and damage resulting from

major disasters, to repair essential public facilities in major disasters and to foster the development

of such State and local organization and plans to cope with major disasters as may be necessary.”

Pub. L. No. 81-875, § 1, 64 Stat. 1109, 1109. The 1950 law authorized the President to coordinate

efforts among federal agencies generally rather than creating a specific federal disaster relief

agency. See 42 U.S.C. § 1855d (1952).

        39.    Since 1950, Congress has steadily expanded the federal government’s role in

assisting with state and local emergency management. In a series of successive enactments in the

1960s and 1970s, Congress authorized additional assistance to state and local governments for this

purpose. See, e.g., Disaster Relief Act of 1966, Pub. L. 89-769, 80 Stat. 1316; Disaster Relief Act

of 1969, Pub. L. 91-79, 83 Stat. 125; Disaster Relief Act of 1970, Pub. L. 91-606, 84 Stat. 1744;

Disaster Relief Act of 1974, Pub. L. 93-288, 88 Stat. 143. In 1988, Congress formally renamed the

federal law establishing the structure for federal and State cooperation in emergency management

the Robert T. Stafford Disaster Relief and Emergency Assistance Act, or the Stafford Act. Disaster

Relief and Emergency Assistance Amendments of 1988, Pub. L. 100-707, 102 Stat. 4689.




                                                  9
  Case 1:25-cv-00206         Document 1        Filed 05/13/25       Page 10 of 79 PageID #: 10




       40.     In 1979, FEMA was established to consolidate all federal support for emergency

preparedness, mitigation, and response activities under one agency’s purview. Today, FEMA is a

distinct entity within DHS. See 6 U.S.C. §§ 313(a); 316(a). By law, the DHS Secretary “may not

substantially or significantly reduce . . . the authorities, responsibilities, or functions of [FEMA]

or the capability of [FEMA] to perform those missions, authorities, responsibilities, except as

otherwise specifically provided in an Act enacted after October 4, 2006.” Id. § 316(c)(1); see also

id. § 591h(c) (“Nothing in this title or any other provision of law may be construed to affect or

reduce the responsibilities of the Federal Emergency Management Agency or the Administrator of

the Agency, including the diversion of any asset, function, or mission of the Agency or the

Administrator of the Agency.”).

       41.     Consistent with the structure created by Congress over the course of many decades,

Plaintiff States today rely on federal grants as a critical tool to support their efforts to mitigate,

prepare for, respond to, and recover from catastrophic events like natural disasters and malicious

attacks.

       42.     State emergency management budgets are largely committed to preexisting

priorities—including, for example, emergency management staff. Indeed, many federal grants may

be used only to support activities that are not already directly funded by the State. Federal grants

therefore typically support disaster management initiatives that would not exist but for the federal

grant funds and would disappear without them.

       43.     These federal grant programs, which are administered by FEMA, fall into three

categories: (1) “preparedness” grants, which enable States and local governments to put systems

in place to prepare for and respond to security threats and emergencies, (2) “disaster relief” grants,

which are tied to a presidential declaration of a major disaster and enable States and other recipients




                                                  10
    Case 1:25-cv-00206       Document 1        Filed 05/13/25      Page 11 of 79 PageID #: 11




to respond to and recover from such disasters, and (3) “mitigation” grants, which enable States and

others to prepare for natural disasters (including floods and fires) and other threats.1

        44.    Other sub-agencies of DHS, including the USCG, also administer several grant

programs on which Plaintiff States rely, including grants to assist States in waterway safety

management.

        1.     Preparedness Grants

        45.    FEMA’s “preparedness grant programs” annually provide “more than two billion

dollars in funding to state, local, tribal Nations, and territorial governments, as well as

transportation authorities, nonprofit organizations, and other eligible entities.” Simplifying FEMA

Preparedness Grants, 88 Fed. Reg. 62098, 62099 (2023). “For decades, FEMA has provided

federal assistance to aid states in building and sustaining capabilities to measurably improve the

nation’s readiness in preventing, preparing for, protecting against, and responding to terrorist

attacks and other hazards.” Id. at 62098-99. Over a dozen different preparedness programs help

States reduce the risk of terrorism and extremist violence, maintain general emergency

management capabilities, and address emerging threats like cyber-attacks. Id. at 62099.

        46.    Congress created many of the preparedness grant programs in direct response to the

horrific events of September 11, 2001. The USA PATRIOT Act, enacted on October 26, 2001,

established a grant program to allow States “to prepare for and respond to terrorist acts,” Pub. L.

107-56, § 1014, 115 Stat. 272, 399, which was the precursor to the Homeland Security Grant

Program, infra ¶¶ 50-80. The Maritime Transportation Security Act of 2002 created the Port

Security Grant Program, infra ¶¶ 122-34, to prevent security incidents at the nation’s ports. See




1
  Below, Plaintiff States discuss many of the grant programs on which they rely most heavily. But
the discussion below is not exhaustive, and Plaintiff States seek an injunction against enforcement
of the challenged conditions as to all grants that defendants administer, not merely those discussed
here.


                                                 11
  Case 1:25-cv-00206         Document 1        Filed 05/13/25     Page 12 of 79 PageID #: 12




Pub. L. 107-295, § 102, 116 Stat. 2064, 2075 (codified as amended at 46 U.S.C. § 70107). In 2006,

as part of a comprehensive reorganization of FEMA in the wake of Hurricane Katrina, Congress

permanently lodged all preparedness programs within FEMA. See Homeland Security Act of 2002,

Pub. L. 107-296, § 430, 116 Stat. 2135, 2191 (creating the Office for Domestic Preparedness);

Post-Katrina Emergency Management Reform Act of 2006, Pub. L. 109-295, tit. VI, § 611, 120

Stat. 1355, 1400 (codified at 6 U.S.C. § 315(a)(2)) (transferring these functions to FEMA).

          47.   Congress expanded the preparedness programs in 2007 with comprehensive

legislation “[t]o provide for the implementation of the recommendations of the National

Commission on Terrorist Attacks Upon the United States,” informally known as the 9/11

Commission. See Pub. L. 110-53, 121 Stat. 266. This law, once again passed in direct response to

the September 11 attacks, brought together and made permanent the Homeland Security Grant

Program and the Emergency Management Performance Grants. See Pub. L. 110-53, §§ 101, 201,

121 Stat. 266, 271, 294; infra ¶¶ 50-93. Through appropriations laws since 2004, Congress has

also funded a program to assist nonprofit organizations, including religious organizations, “at high

risk of international terrorist attack,” Pub. L. 108-334, 118 Stat. 1298, 1309; infra ¶¶ 109-21. The

Securing American Nonprofit Organizations Against Terrorism Act of 2019 expanded and made

permanent this Nonprofit Security Grant Program. Pub. L. 116-108, 133 Stat. 3294.

          48.   As a result of these congressional actions, today Plaintiff States critically rely on

federal preparedness grant programs, including the Homeland Security Grant Program – State

Homeland Security Program, the Homeland Security Grant Program – Urban Area Security

Initiative, the Emergency Management Performance Grant Program, the State and Local

Cybersecurity Grant Program, the Nonprofit Security Grant Program, and the Port Security Grant

Program. Plaintiff States receive over $1 billion annually in funding from FEMA preparedness

grants.



                                                 12
  Case 1:25-cv-00206         Document 1        Filed 05/13/25     Page 13 of 79 PageID #: 13




       49.     FEMA typically releases notices of funding opportunities for preparedness grants

around April or May of the federal fiscal year for the grant in question, and States then apply for

funding by submitting applications. The federal government’s fiscal year runs from October 1 to

September 30 of the following year.

               a.      The Homeland Security Grant Program – State Homeland Security
                       Program (“SHSP”)

       50.     Homeland Security Grant Program – State Homeland Security Program (“SHSP”)

grants exist to provide federal funding to States to build the necessary capacity to prevent, prepare

for, protect against, and respond to acts of terrorism.

       51.     SHSP funds have been available to States since the first version of the program was

created by the USA PATRIOT Act in 2001. The program is codified at 6 U.S.C. §§ 603, 605-09.

       52.     FEMA is required to allocate SHSP funds pursuant to a risk assessment, which

determines each State’s relative threat, vulnerability, and consequences from acts of terrorism,

considering factors such as population density and history of threats. Id. § 608(a)(1). Recipients

may then use SHSP funds for uses permitted by statute, such as enhancing homeland security,

conducting training exercises, upgrading equipment, or paying salaries. Id. § 609(a).

       53.     Because SHSP grants are formula grants based on a statutory risk formula, not

competitive grants, each State is entitled to a minimum and specific allocation based on the risk

assessment whenever a notice of funding opportunity is posted.

       54.     The FEMA Administrator “shall ensure” that each State receives no less than an

amount equal to 0.35 percent of the total funds Congress appropriated for SHSP grants. Id.

§ 605(e)(1)(A)(v).

       55.     The SHSP statutes do not authorize DHS to impose any of the Civil Immigration

Conditions on SHSP funding.




                                                 13
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 14 of 79 PageID #: 14




       56.     States collectively receive hundreds of millions of dollars per year in SHSP grants.

They use these funds for myriad counterterrorism and emergency preparedness purposes,

including, but not limited to, funding State special operations command teams (including SWAT

teams and bomb squads) and funding mutual aid networks of police departments, fire departments,

emergency services, and public works departments to mobilize first responders from outside an

immediate jurisdiction in the event of a disaster.

       57.     SHSP funds allow States to advance counterterrorism and emergency preparedness

purposes in ways they otherwise could not. The multijurisdictional emergency response

organizations funded by SHSP would be forced to shut down absent federal funding.

       58.     Because each SHSP grant typically remains open for three years, an award in one

fiscal year usually allows States to continue to support program activities in at least the two years

thereafter, many Plaintiff States are currently relying on funding from the SHSP awards for Federal

Fiscal Years (“FY”) 2021-2024.

       59.     As an example of how States use SHSP funding, Rhode Island uses SHSP funding

for several specialized teams that are the only personnel in Rhode Island with the expertise and

training to respond to incidents such as a wilderness search and rescue, attacks involving a weapon

of mass destruction or an explosive device, or a terrorist attack at a port.

       60.     Similarly, Illinois has used its SHSP funding for a wide range of initiatives that

prevent, prepare for, protect against, and respond to acts of terrorism. Those efforts include first

responder mutual aid networks, which coordinate terrorism responses from outside an immediate

jurisdiction. SHSP funds also support the Illinois Statewide Terrorism and Intelligence Center,

which facilitates communication across jurisdictions between public safety officials regarding

national terrorism trends. SHSP funds also pay for the Illinois State Police’s SWAT and Statewide

Weapons of Mass Destruction Team.



                                                  14
  Case 1:25-cv-00206          Document 1      Filed 05/13/25     Page 15 of 79 PageID #: 15




       61.     New Jersey has used its SHSP funding to fund the salaries of state agency staff who

provide cybersecurity training, plan risk mitigation efforts, and combat domestic violent

extremism. SHSP funds have also enabled the development and maintenance of several

technological systems, including automated license plate recognition, unmanned aircraft detection,

and the New Jersey Interoperability Communications System, which is a statewide radio system

designed to strengthen communication among local, county, state, and federal first responders.

       62.     Furthermore, New York has used SHSP funds to administer and manage terrorism

and targeted violence prevention grants and 12 local FBI-certified bomb squads to detect and

respond to explosive incidents throughout the State. SHSP funding has also been critical in New

York’s establishment of local specialty teams, including explosive detection canine teams, tactical

teams, and HazMat teams. SHSP funding supports the operations of the State’s only fusion center,

the New York State Intelligence Center (NYSIC). This funding is critical to supporting incident

command operations, radiation interdiction efforts, cybersecurity activities, and weapons of mass

destruction programs and staffing for intelligence analysts. In addition, SHSP funding supports

citizen preparedness initiatives across the State, and New York has used SHSP funds to reduce

vulnerabilities in crowded open spaces.

       63.     Plaintiff States were allocated the following in SHSP funds since FY2021 as shown

in Table 1 below:

                   Table 1: SHSP Allocations to Plaintiff States in FY2021-20242

 Plaintiff State       FY2021             FY2022            FY2023              FY2024

 California            $59,220,807        $57,035,623       $57,035,623         $51,332,060

 Colorado              $4,602,500         $4,847,500        $4,847,500          $4,362,750



2 This chart is prepared based on allocations set out by FEMA in its annual Notices of Funding

Opportunity. Actual awarded amounts may vary slightly.


                                                15
  Case 1:25-cv-00206        Document 1      Filed 05/13/25     Page 16 of 79 PageID #: 16




 Connecticut        $4,602,500         $4,847,500          $4,847,500        $4,362,750

 Delaware           $4,602,500         $4,847,500          $4,847,500        $4,362,750

 Hawaiʻi            $4,602,500         $4,847,500          $4,847,500        $4,362,750

 Illinois           $14,427,260        $13,894,910         $13,894,910       $12,505,419

 Maine              $4,602,500         $4,847,500          $4,847,500        $4,362,750

 Maryland           $7,345,897         $7,074,841          $7,074,841        $6,367,357

 Massachusetts      $6,428,138         $6,190,947          $6,190,947        $5,571,852

 Michigan           $5,280,222         $5,085,387          $5,085,387        $4,576,849

 Minnesota          $4,602,500         $4,847,500          $4,847,500        $4,362,750

 Nevada             $4,602,500         $4,847,500          $4,847,500        $4,362,750

 New Jersey         $7,345,897         $7,074,841          $7,074,841        $6,367,357

 New Mexico         $4,602,500         $4,847,500          $4,847,500        $4,362,750

 New York           $70,639,800        $68,033,267         $68,033,267       $61,229,940

 Oregon             $4,602,500         $4,847,500          $4,847,500        $4,362,750

 Rhode Island       $4,602,500         $4,847,500          $4,847,500        $4,362,750

 Vermont            $4,602,500         $4,847,500          $4,847,500        $4,362,750

 Washington         $6,428,138         $6,190,947          $6,190,947        $5,571,852

 Wisconsin          $4,602,500         $4,847,500          $4,847,500        $4,362,750

 TOTAL              $232,346,159       $228,750,763        $228,750,763      $205,875,686


       64.     Plaintiff States have been applying for and obtaining SHSP funds every year since

the program was established during the Bush Administration.

       65.     Plaintiff States intend to apply for SHSP funds in FY2025.




                                               16
  Case 1:25-cv-00206          Document 1        Filed 05/13/25       Page 17 of 79 PageID #: 17




                b.      Homeland Security Grant Program – Urban Area Security Initiative
                        (“UASI”)

        66.     Homeland Security Grant Program – Urban Area Security Initiative (“UASI”)

grants serve the same overall purposes as SHSP grants. These funds are used to build necessary

capacity to prevent, prepare for, protect against, and respond to acts of terrorism but with a focus

on high-threat, high-density urban areas.

        67.     UASI funds have been available to States since the first version of the program was

created by appropriations statute in 2003. See Pub. L. 108-90, 117 Stat. 1137, 1146. The program

is codified at 6 U.S.C. §§ 603-04, 606-09.

        68.     FEMA is required to follow considerations set in statute to determine the relative

threat, vulnerability, and consequences from acts of terrorism faced by metropolitan areas to

designate high-risk urban areas that may submit applications for UASI grants. Id. §§ 604(b)(3).

FEMA is required to allocate UASI funds pursuant to a risk assessment, which determines each

high-risk urban area’s relative threat, vulnerability, and consequences from acts of terrorism,

considering factors such as population density and history of threats. Id. § 608(a)(1).

        69.     Because UASI grants are formula grants based on a statutory risk formula, not

competitive grants, each eligible State is entitled to a specific allocation based on the risk

assessment whenever a notice of funding opportunity is posted, tied to the FEMA-designated

eligible urban area or areas in that State.

        70.     Recipients must use UASI funds for permitted uses, such as enhancing homeland

security, conducting training exercises, upgrading equipment, or paying salaries. Id. § 609(a).

None of the permitted uses include civil immigration enforcement.

        71.     States that receive UASI funds must provide the high-risk urban area with at least

80% of the grant funds. Id. § 604(d)(2)(A). Any funds retained by the State shall be expended on

items, services, or activities that benefit the high-risk urban area. Id.


                                                   17
  Case 1:25-cv-00206         Document 1       Filed 05/13/25      Page 18 of 79 PageID #: 18




        72.    The UASI statutes do not authorize DHS to impose any of the Civil Immigration

Conditions on UASI funding.

        73.    States collectively receive hundreds of millions of dollars per year in UASI grants,

passing most of these funds along to the high-risk urban areas. States and the local government

entities they pass these funds to use UASI funds for myriad counterterrorism and emergency

preparedness purposes, including support for urban fusion centers, SWAT teams, canine units, and

bomb squads.

        74.    UASI funds allow States and local government entities to advance counterterrorism

and emergency preparedness purposes in ways they otherwise could not.

        75.    Because each UASI grant typically remains open for three years, an award in one

fiscal year usually allows States to continue to support program activities in at least the two years

thereafter.

        76.    As an example of how States use UASI funding, Illinois has one eligible high-

threat, high-density urban area, the Chicago metropolitan statistical area. Illinois passes

approximately 90% of UASI funds on to fire departments, law enforcement, other first responders,

and emergency preparedness offices in the greater Chicago area. These funds provide critical

funding for the Chicago Office of Emergency Management, the Chicago Crime Prevention and

Intelligence Center, and the Cook County Department of Emergency Management and Regional

Security. Chicago uses UASI funds for preparedness purposes including, but not limited to,

replacing and sustaining its stock of respirators necessary for mass casualty incidents, maintaining

training for fire department special operations teams, and developing policy and training regarding

active shooters and coordinated terrorist attack scenarios.

        77.    Similarly, New Jersey passes UASI funds through to seven contiguous counties in

the New York City metropolitan area, including the major cities of Newark and Jersey City, eight



                                                 18
  Case 1:25-cv-00206          Document 1      Filed 05/13/25    Page 19 of 79 PageID #: 19




medical centers in urban areas throughout the state, and six State-level agencies that perform

preparedness work in service of those geographic areas. New Jersey has used UASI funds to

enhance urban search and rescue, including training and equipment and gear upgrades and

replacements.

       78.      Plaintiff States eligible for UASI funding were allocated the following in UASI

funds since FY2021 as shown in Table 2 below:

                   Table 2: UASI Allocations to Plaintiff States in FY2021-20243

 Plaintiff State       FY2021            FY2022            FY2023            FY2024

 California            $135,350,000      $133,877,000      $132,063,095      $118,534,552

 Colorado              $3,900,000        $3,900,000        $3,900,000        $3,500,484

 Hawaiʻi               $3,800,000        -                 $1,500,000        $1,346,340

 Illinois              $68,000,000       $67,182,000       $66,174,270       $59,395,378

 Maryland              $4,250,000        $3,800,000        $3,800,000        $3,410,728

 Massachusetts         $16,900,000       $16,900,000       $16,646,500       $14,941,233

 Michigan              $5,250,000        $5,250,000        $5,250,000        $4,712,190

 Minnesota             $5,250,000        $5,250,000        $5,250,000        $4,712,190

 Nevada                $5,250,000        $4,847,500        $5,250,000        $4,712,190

 New Jersey            $19,050,000       $18,915,000       $18,631,275       $16,722,687

 New York              $178,750,000      $176,599,000      $173,950,017      $156,131,176

 Oregon                $3,800,000        $3,800,000        $3,800,000        $3,410,728

 Washington            $6,250,000        $6,250,000        $6,250,000        $5,609,750

 TOTAL                 $455,800,000      $446,570,500      $442,465,157      $396,790,186



3 This chart is based on amounts allocated by FEMA in its annual Notices of Funding Opportunity.

Actual awarded amounts may vary slightly.


                                                19
  Case 1:25-cv-00206        Document 1          Filed 05/13/25    Page 20 of 79 PageID #: 20




        79.    Eligible Plaintiff States have been applying for and obtaining UASI funds every

year since the program was established during the Bush Administration.

        80.    Eligible Plaintiff States intend to apply for UASI funds in FY2025.

               c.      Emergency Management Performance Grant Program (“EMPG”)

        81.    The Emergency Management Performance Grant Program (“EMPG”) provides

federal funding to States to assist state, local, tribal, and territorial emergency management

agencies in implementing FEMA’s National Preparedness System, including by building

continuity-of-government capabilities to ensure essential functions in a catastrophic disaster.

        82.    EMPG funds have been available to States since an initial appropriation for the

program in 2003. See Pub. L. 108-7, 117 Stat. 11, 516. The program is now codified at 6 U.S.C.

§ 762 after being made permanent by the Post-Katrina Emergency Management Reform Act of

2006.

        83.    FEMA’s allocation of EMPG funds is set by statutory formula. For each year’s

apportioned amount of EMPG, FEMA must allocate to certain territories a baseline amount of 0.25

percent of the appropriated funds and to the States a baseline amount of 0.75 percent of the

appropriated funds. Id. § 762(d)(1). FEMA must apportion the remaining amount among the States

on a population-share basis. Id. § 762(d)(2).

        84.    Because EMPG grants are formula grants and not competitive grants, each State is

entitled to a specific allocation whenever a notice of funding opportunity is posted.

        85.    The EMPG statute does not authorize DHS to impose any of the Civil Immigration

Conditions on EMPG funding.

        86.    States collectively receive hundreds of millions of dollars per year in EMPG grants.

They use these funds for emergency preparedness purposes, including funding the salaries of




                                                  20
  Case 1:25-cv-00206         Document 1        Filed 05/13/25     Page 21 of 79 PageID #: 21




operations personnel who coordinate disaster response efforts and funding communications,

facilities, and vehicles used for disaster response.

        87.    EMPG funds allow States to advance emergency preparedness purposes in ways

they otherwise could not. States would otherwise not be able to employ the emergency

management staff funded by EMPG funds, severely diminishing States’ ability to coordinate a

disaster response.

        88.    Because each EMPG grant typically remains open for three years, an award in one

fiscal year usually allows States to continue to support program activities in at least the two years

thereafter.

        89.    States use EMPG funding for a wide range of emergency response programming.

For instance, EMPG dollars fund the salaries of state agency personnel who lead statewide

coordination efforts in response to a natural disaster or mass casualty event, such as state

emergency operations plans, hurricane response plans, severe weather plans and procedures. The

EMPG program also funds communications, facilities, and vehicles for disaster response in State-

level agencies. EMPG monies also fund the ongoing costs of the software program used at the

state emergency operations centers, which are the physical location where a state emergency

manager directs all strategic and operational activities in the event of a disaster or public health

emergency. For example, Rhode Island uses EMPG funds to lead statewide coordination efforts

in response to disasters or mass casualty events. EMPG funds pay for communications, facilities,

vehicles and equipment for disaster response.

        90.    States also pass through EMPG funds to localities who likewise fund the salaries

of local emergency managers and local support staff statewide as well as software and

communications to support local emergency response. For instance, California distributes EMPG




                                                  21
  Case 1:25-cv-00206        Document 1      Filed 05/13/25      Page 22 of 79 PageID #: 22




funding to 59 local government entities and tribes to improve and fill critical gaps for existing

emergency management systems.

       91.     Plaintiff States were allocated the following in EMPG funds since FY2021 as

shown in Table 3 below:

               Table 3: EMPG Allocations to Plaintiff States in FY2021-20244

 Plaintiff State    FY2021             FY2022              FY2023             FY2024

 California         $27,840,216        $31,711,205         $27,342,079        $24,465,792

 Colorado           $6,376,806         $7,224,682          $6,355,283         $5,725,277

 Connecticut        $4,937,370         $5,652,584          $4,955,472         $4,444,987

 Delaware           $3,293,610         $3,755,425          $3,306,466         $2,980,703

 Hawaiʻi            $3,562,346         $4,092,884          $3,573,185         $3,209,100

 Illinois           $10,712,809        $12,329,319         $10,618,545        $9,504,284

 Maine              $3,525,978         $4,025,503          $3,538,497         $3,186,775

 Maryland           $6,535,466         $7,517,313          $6,560,623         $5,896,691

 Massachusetts      $7,071,260         $8,135,699          $7,077,439         $6,361,781

 Michigan           $9,036,574         $10,345,728         $9,007,410         $8,081,267

 Minnesota          $6,280,633         $7,175,934          $6,277,669         $5,646,155

 Nevada             $4,669,562         $5,289,011          $4,671,913         $4,205,403

 New Jersey         $8,343,188         $9,774,016          $8,518,986         $7,658,501

 New Mexico         $4,009,589         $4,573,158          $3,998,839         $3,593,811

 New York           $15,029,265        $17,687,743         $15,105,029        $13,481,216

 Oregon             $5,375,140         $6,110,421          $5,343,682         $4,793,987



4 This chart is based on amounts allocated by FEMA in its annual Notices of Funding Opportunity.

Actual awarded amounts may vary slightly.


                                               22
  Case 1:25-cv-00206         Document 1       Filed 05/13/25      Page 23 of 79 PageID #: 23




 Rhode Island        $3,338,580          $3,833,335          $3,354,105          $3,016,993

 Vermont             $3,061,159          $3,503,868          $3,071,660          $2,762,968

 Washington          $7,582,922          $8,625,483          $7,585,716          $6,821,397

 Wisconsin           $6,392,753          $7,311,711          $6,388,552          $5,744,163

 TOTAL               $146,975,226        $168,675,022        $146,651,150        $131,581,251


       92.     Plaintiff States have applied for and obtained EMPG funds every year since the

program was established.

       93.     Plaintiff States intend to apply for EMPG funds in FY2025.

               d.      State and Local Cybersecurity Grant Program (“SLCGP”)

       94.     The State and Local Cybersecurity Grant Program (“SLCGP”) provides federal

funding to States to manage and reduce cyber risk.

       95.     SLCGP funds have been available to States since the program was created by 2021

Infrastructure Investment and Jobs Act. The program is codified at 6 U.S.C § 665g.

       96.     FEMA is required to allocate SLCGP funds on a population-share basis. Id.

§ 665g(l).

       97.     Because SLCGP grants are formula grants and not competitive grants, each State

is entitled to a specific allocation whenever a notice of funding opportunity is posted.

       98.     The SLCGP statute does not authorize DHS to impose any of the Civil Immigration

Conditions on SLCGP funding.

       99.     States collectively receive hundreds of millions of dollars per year in SLCGP

grants. They use these funds for cybersecurity purposes, including funding critical infrastructure

necessary to detect cyber threats.




                                                 23
  Case 1:25-cv-00206         Document 1       Filed 05/13/25      Page 24 of 79 PageID #: 24




        100.    SLCGP funds allow States to provide cybersecurity defenses in ways they

otherwise could not. States do not have a substitute source of cyber defense funding if SLCGP

dollars are cut off.

        101.    Because each SLCGP grant typically remains open for three years, an award in one

fiscal year usually allows States to continue to support program activities in at least the two years

thereafter.

        102.    As an example of how States use SLCGP funds, Illinois has used its SLCGP

funding for a wide range of cybersecurity programming. Illinois passes all its SLCGP dollars to

the Illinois Department of Information Technology, which in turn passes the funds entirely on to

local governments in Illinois. These local governments use the funds to strengthen their cyber

defenses, improve incident response capabilities, and protect critical infrastructure from evolving

cyber threats. For example, the funds are used to develop endpoint detection software, which

continuously monitors the activities on all physical devices connected to a network to detect threats

as early as possible. In Illinois, SLCGP funds also support penetration testing, which involves

hiring cybersecurity experts to attempt to break into a computer network to identify vulnerabilities

before an attack happens.

        103.    Similarly, New Jersey has used its SLCGP funding to establish a unified

cybersecurity strategy statewide, guided by the Cybersecurity and Communications Integration

Cell of the New Jersey Office of Homeland Security and Preparedness. Under this unified

approach, the State-level agency provides equipment and services for state and local entities to

enhance the State’s cyber response.

        104.    Washington also passes on most of its SLCGP funds to local governments, and the

City of Everett has used SLCGP funds to install advanced network monitoring systems and next-




                                                 24
  Case 1:25-cv-00206          Document 1        Filed 05/13/25       Page 25 of 79 PageID #: 25




generation firewalls to protect the City’s water and wastewater plants. These upgrades have made

it more difficult for hackers to infiltrate some of the City’s most critical infrastructure.

        105.    California’s Cybersecurity Integration Center formed a subcommittee to develop a

state cybersecurity plan to guide its SLCGP funding allocations. California’s plan includes

expanding cybersecurity protections to small and rural local governments, where cybersecurity

programs are often nonexistent and basic IT functions are limited.

        106.    Plaintiff States were allocated the following in SLCGP funds since FY2022 as

shown in Table 4 below:

                Table 4: SLCGP Allocations to Plaintiff States in FY2021-20245

 Plaintiff State           FY2022                      FY2023                  FY2024

 California                $7,981,997                  $15,879,497             $11,845,702

 Colorado                  $3,234,143                  $6,553,216              $4,791,605

 Connecticut               $2,681,116                  $5,465,875              $4,122,302

 Delaware                  $2,224,803                  $4,546,985              $3,377,360

 Hawaiʻi                   $2,243,739                  $4,567,336              $3,469,262

 Illinois                  $4,404,622                  $8,834,866              $6,724,174

 Maine                     $2,666,932                  $5,439,273              $4,038,646

 Maryland                  $3,214,008                  $6,514,533              $4,924,161

 Massachusetts             $3,173,589                  $6,419,112              $4,816,189

 Michigan                  $4,777,219                  $9,609,530              $7,178,365

 Minnesota                 $3,606,482                  $7,270,657              $5,474,363

 Nevada                    $2,488,375                  $5,072,822              $4,205,403



5 This chart is based on amounts allocated by FEMA in its annual Notices of Funding Opportunity.

Actual awarded amounts may vary slightly.


                                                  25
  Case 1:25-cv-00206           Document 1       Filed 05/13/25         Page 26 of 79 PageID #: 26




 New Jersey                $3,380,963                   $6,858,348              $5,184,599

 New Mexico                $2,540,767                   $5,178,907              $3,893,800

 New York                  $5,813,554                   $11,588,894             $8,723,252

 Oregon                    $2,988,975                   $6,047,316              $4,515,523

 Rhode Island              $2,190,484                   $4,467,229              $3,326,808

 Vermont                   $2,310,302                   $4,717,850              $3,530,689

 Washington                $3,667,735                   $7,403,503              $5,546,984

 Wisconsin                 $3,795,634                   $7,666,939              $5,806,564

 TOTAL                     $69,385,439                  $140,102,688            $105,495,751


        107.    Plaintiff States have applied for and obtained SLGCP funds every year since the

program was established.

        108.    Plaintiff States intend to apply for SLCGP funds in FY2025.

                e.      Nonprofit Security Grant Program (“NSGP”)

        109.    The Nonprofit Security Grant Program (“NSGP”) provides federal funding to

States to help nonprofits in those States increase the physical security of their facilities at risk of a

terrorist or other extremist attack. The program was created in response to concerns that nonprofit

organizations, particularly religious institutions, have faced increasing threats from extremists and

other violent organizations.

        110.    NSGP funds have been available to States since the program was created by

legislative appropriation in 2004. Pub. L. 108-334, 118 Stat. 1298, 1309. The program is now

codified at 6 U.S.C. § 609a.

        111.    Nonprofit organizations eligible to participate in the NSGP are generally

organizations exempt from tax under section 501(c)(3) of the Internal Revenue Code, such as




                                                   26
  Case 1:25-cv-00206          Document 1        Filed 05/13/25      Page 27 of 79 PageID #: 27




houses of worship, museums, educational facilities, senior centers, community centers, and day

camps.

         112.   Eligible nonprofit organizations submit an application to their State, describing the

nature of the threats they face, and then States apply to FEMA for NSGP funds on behalf of the

eligible nonprofit organizations.

         113.   Each State is entitled to a target allocation of statewide NSGP funds each fiscal

year, with the States submitting enough projects to exhaust this target allocation. The available

funds are distributed among eligible nonprofits based on a competitive scoring process. Additional

high-risk urban area funding is available on a competitive basis. Multiple Plaintiff States apply for

both their baseline allocation and additional competitive funds each year.

         114.   NSGP fund recipients may use the funds for uses permitted by statute, including

target hardening activities, fees for security training, and security personnel costs. Id. § 609a(c)(1).

         115.   The NSGP statutes do not authorize DHS to impose any of the Civil Immigration

Conditions on NSGP funding.

         116.   States collectively receive hundreds of millions of dollars per year in NSGP grants.

They use these funds for myriad nonprofit security purposes, including, but not limited to, funding

security systems and physical building improvements. NSGP funds allow States to advance

nonprofit security purposes in ways they otherwise could not. Nonprofit organizations generally

lack other sources of funds to implement such improvements, and a funding cut-off would

significantly hinder efforts to safeguard vulnerable faith-based and civic organizations during a

period of heightened risk of violence motivated by developing domestic and global events.

         117.   Because each NSGP grant typically remains open for three years, an award in one

fiscal year usually allows States to continue to support nonprofit security programming in at least

the two years thereafter.



                                                  27
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 28 of 79 PageID #: 28




       118.    The States have used their NSGP funding for a wide range of initiatives that bolster

nonprofit security. Those efforts include support for thousands of nonprofit organization sites,

including religious institutions and private schools, at risk of being targeted by violent extremists.

Recipients of NSGP funds include synagogues and Jewish Day Schools facing the risk of

antisemitic violence. The grant program has also supported security measures for churches,

mosques, and secular organizations that face violent threats. NSGP funds have gone to security

measures such as public address systems to be used in an emergency, security systems, physical

building improvements to mitigate damage from explosions and impacts, bulletproof glass,

bollards and other physical barriers, and screening equipment for packages and people such as

metal detectors. As one example, recent NSGP awards have been used to help synagogues in the

New York City-area to purchase security cameras, hire security guards, and install fencing.

       119.    Multiple Plaintiff States rely on funding from NSGP awards to protect non-profit

institutions. For example, in FY 2024, Plaintiff States collectively relied on over $100 million in

NSGP funds, including in excess of $43 million for California, $8 million for Colorado, $4 million

for Connecticut, $24 million for Illinois, $8 million for Maryland, $8 million for Massachusetts,

$14 million for Michigan, $8 million for Minnesota, $7 million for New Jersey, $2 million for

New Mexico, $44 million for New York, $3 million for Oregon, $2 million for Rhode Island, and

$7 million for Wisconsin.

       120.    Many Plaintiff States have applied for and obtained NSGP funds every year since

the program was established during the Bush Administration.

       121.    Many Plaintiff States intend to apply for NSGP funds in FY2025.




                                                 28
  Case 1:25-cv-00206         Document 1       Filed 05/13/25      Page 29 of 79 PageID #: 29




               f.        Port Security Grant Program (“PSGP”)

        122.   The Port Security Grant Program (“PSGP”) provides federal funding to States to

support increased port-wide risk management and protect critical marine transportation system

infrastructure from acts of terrorism, major disasters, and other emergencies.

        123.   PSGP funds have been available to States since the program was created by the

Maritime Transportation Security Act of 2002. The program is codified at 46 U.S.C. § 70107.

        124.   PSGP grants are awarded on a competitive basis as outlined in the pertinent notice

of funding opportunity. Eligible funding must support an Area Maritime Security Program at one

of the port areas designated for special security protections by the Secretary of Homeland Security.

        125.   Multiple Plaintiff States apply for this competitive grant on an annual basis.

        126.   The PSGP statute does not authorize DHS to impose any of the Civil Immigration

Conditions on PSGP funding.

        127.   States collectively receive millions of dollars per year in PSGP grants. They use

these funds to purchase and upgrade port security systems, including threat detection technology.

        128.   Because each PSGP grant typically remains open for three years, an award in one

fiscal year usually allows States to continue to support port security in at least the two years

thereafter.

        129.   Illinois has used its PSGP funding to equip Lake Michigan patrol boats with

tracking and navigation systems capable of detecting improvised explosive devices and unmanned

aerial systems deployed over water. It has also used PSGP funds to purchase new patrol boats in

the Port of St. Louis.

        130.   Illinois currently relies on funding from the PSGP awards for FY2023 and FY2024.

For FY2023, Illinois received an award of $75,000 for electronics upgrades to the four current

Lake Michigan patrol boats. For FY 2024, Illinois received an award of $600,000 to purchase a




                                                29
  Case 1:25-cv-00206          Document 1       Filed 05/13/25     Page 30 of 79 PageID #: 30




new Lake Michigan patrol boat and an award of $45,000 to upgrade equipment on a Port St. Louis

patrol boat.

       131.       New Jersey relies on two PSGP awards each year, for its designated North and

South port security areas. New Jersey has open awards for FYs 2022 to 2024. In FY 2023, New

Jersey received a $2,139,749 award for the North area and a $372,842 award for the South area.

In FY2024, New Jersey received a $348,750 award for the North area and a $464,250 award for

the South area.

       132.       Washington relies on PSGP funds to patrol the Puget Sound region and respond

quickly to emergencies occurring on the water, such as distressed boaters or an active shooter

aboard a Washington State Ferry. For instance, Washington received a $398,454 award in FY 2021

and a $450,000 award in FY 2023, which it used to purchase critical marine assets, including a

boat equipped with the ability to detect nuclear devices in Puget Sound. Washington intends to

apply for a FY 2025 PSGP grant and to use those funds to train and equip its maritime police

officers, who frequently support federal partners during high profile events in Seattle, such as the

upcoming 2026 FIFA World Cup.

       133.       Many Plaintiff States have applied for and obtained PSGP funds every year since

the program was established during the Bush Administration.

       134.       Many Plaintiff States intend to apply for PSGP funds in FY2025.

                  g.     Presidential Residence Protection Security Grant Program (“PRP”)

       135.       The Presidential Residence Protection Security Grant Program (“PRP”) program

provides federal funding to reimburse States for extraordinary law enforcement or other

emergency personnel costs for protection activities directly and demonstrably associated with any

residence of the President of the United States that is designated or identified to be secured by the

United States Secret Service.




                                                 30
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 31 of 79 PageID #: 31




       136.    Because President Donald Trump has a residence in New Jersey, the State of New

Jersey has applied for and received PRP funds for FY2017, FY2018, FY2019, FY2020, and FY

2021, corresponding to each of President Trump’s first four years in office. In FY2017, New Jersey

received $281,821. In FY2018, New Jersey received $186,683. In FY2019, New Jersey received

$234,693. In FY2020, New Jersey received $295,080. In FY2021, New Jersey received $6,646.

       137.    The statutes and regulations governing PRP do not authorize DHS to impose any

of the Civil Immigration Conditions on PRP funding.

       138.    States collectively receive hundreds of thousands or millions of dollars per year in

PRP grants. They use these funds to reimburse expended money spent on protection services at a

non-governmental residence of the President as designated by the United States Secret Service.

       139.    Plaintiff New Jersey intends to apply for PRP funds in FY2025 to reimburse the

State for funds expended for extraordinary protection activities directly associated with the

President’s New Jersey residence.

       2.      Disaster Relief Grants

       140.    In addition to preparedness grants, FEMA administers grant programs tied to a

presidential declaration of a major disaster or an emergency under the Stafford Disaster Relief and

Emergency Assistance Act (the “Stafford Act”).

       141.    Congress passed the Stafford Act in 1988 to “provide an orderly and continuing

means of assistance by the Federal Government to State and local governments in carrying out

their responsibilities to alleviate the suffering and damage which result from such disasters.” 42

U.S.C. § 5121(b).

       142.    Typically, a State’s governor will request a major disaster declaration, and the

President can either grant or deny the request. The governor’s request “shall be based on a finding

that the disaster is of such severity and magnitude that effective response is beyond the capabilities




                                                 31
  Case 1:25-cv-00206          Document 1        Filed 05/13/25       Page 32 of 79 PageID #: 32




of the State and the affected local governments and that Federal assistance is necessary.” Id. §

5170; see also id. § 5191 (process for declaring an emergency).

        143.    FEMA has promulgated regulations to govern the disaster declaration process. See

44 C.F.R. § 206.31 et seq. The regulations include more detailed criteria for when FEMA

recommends that the President declare a major disaster. See id. §§ 206.36(b)-(c), 206.37(c)(1),

206.48; see also id. § 206.35 (criteria for emergencies). These criteria relate exclusively to the

severity of the disaster (in terms of monetary and non-monetary damages), the available resources

to address it, and the history of pre-disaster mitigation efforts.

        144.    Congress specifically lists the actions a President may take in any major disaster,

including directing any federal agency to utilize its resources for support, coordinating disaster

relief, providing technical and advisory assistance, assisting in the distribution of supplies,

assisting in inspections for building damage compliance, and providing accelerated federal

assistance and support where necessary to save lives, prevent human suffering, and mitigate severe

damage. Id. § 5170a. The Stafford Act does not authorize DHS to impose any of the Civil

Immigration Conditions on post-disaster grant programs.

        145.    The FEMA regulations do not authorize DHS to impose any of the Civil

Immigration Conditions on post-disaster grant programs.

        146.    FEMA issues grants under the Stafford Act pursuant to a range of different

programs including the Public Assistance Program, the Disaster Case Management Program, the

Hazard Mitigation Grant Program, and the Fire Management Assistance Grant Program.

        147.    FEMA grants issued under the Stafford Act are paid out from the Disaster Relief

Fund, an appropriation against which FEMA can direct, coordinate, manage, and fund eligible

resources and recovery efforts associated with domestic major disasters and emergencies pursuant




                                                  32
     Case 1:25-cv-00206       Document 1      Filed 05/13/25      Page 33 of 79 PageID #: 33




to the Stafford Act. Congress appropriated $29 billion to the Disaster Relief Fund in the American

Relief Act of 2025.

          148.    FEMA reports the amounts shown in Table 5 below that have been obligated to the

Plaintiff States from the Disaster Relief Fund for non-COVID disasters declared since 2017:

        Table 5: Funds Obligated from FEMA Disaster Relief Fund to Plaintiff States for
                        All Non-COVID Disasters Declared since 20176

    Plaintiff State                                Disaster Relief Fund Obligated

    California                                     $10,568,360,571

    Colorado                                       $143,121,862

    Connecticut                                    $131,297,670

    Delaware                                       $12,350,207

    Hawaiʻi                                        $3,101,612,588

    Illinois                                       $908,670,108

    Maine                                          $179,040,154

    Maryland                                       $46,564,664

    Massachusetts                                  $137,379,778

    Michigan                                       $1,038,738,685

    Minnesota                                      $356,296,878

    Nevada                                         $51,086,321

    New Jersey                                     $825,930,470

    New Mexico                                     $636,019,267

    New York                                       $1,865,029,522



6
    As reported on FEMA, State Profiles on Disaster Funding, available                          at
https://www.fema.gov/emergency-managers/national-preparedness/frameworks/national-
disaster-recovery/support-functions/rsflg/state-profiles (accessed on May 8, 2025).


                                                 33
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 34 of 79 PageID #: 34




 Oregon                                             $1,054,042,995

 Rhode Island                                       $61,043,035

 Vermont                                            $497,283,427

 Washington                                         $379,179,132

 Wisconsin                                          $157,445,122


       149.    As shown in Table 5, FEMA has obligated over $22 billion in disaster relief funding

since 2017 to the Plaintiff States, amounting to an average of over $2 billion per year.

               a.      Public Assistance Program

       150.    After the President makes a major disaster declaration pursuant to the Stafford Act,

the Public Assistance Program provides federal funding to States and other eligible recipients to

help communities pay for emergency response measures in a disaster’s immediate aftermath.

FEMA and States work to develop detailed preliminary damage estimates, which ultimately

become the basis on which FEMA determines the amount of funding that will be made available.

See 44 C.F.R. §§ 206.201(d); 206.202.

       151.    Neither the Stafford Act nor the FEMA regulations applicable to the Public

Assistance Program authorize DHS to impose any of the Civil Immigration Conditions on Public

Assistance Program funds.

       152.    Public Assistance funds are critical for States as they recover from major disasters,

funding activities ranging from debris removal, search and rescue, construction of temporary

facilities for medical care and shelter, and infrastructure repair, all of which are authorized by the

Stafford Act. See 42 U.S.C. §§ 5170a, 5170b, 5172-5173, 5185-5186. States can also apply for a

narrower set of assistance after the declaration of an emergency, short of a major disaster. See id.

§ 5192(a). The federal share of Public Assistance funding “shall be not less than 75 percent of the

eligible cost.” Id. §§ 5170b(b), 5172(b)(1), 5173(d), 5193(a).


                                                 34
  Case 1:25-cv-00206         Document 1        Filed 05/13/25       Page 35 of 79 PageID #: 35




       153.    Plaintiff States rely on Public Assistance for a wide range of essential recovery

expenses. For example, Illinois has used its Public Assistance funding to conduct search and rescue

operations in the immediate aftermath of a disaster, provide food aid, debris removal, and

permanent work including the repair of roads, bridges, water control facilities, buildings and

equipment, utilities, ports, recreational areas, and other physical infrastructure.

       154.    Delaware currently relies on Public Assistance funding arising out of a Tropical

Storm ISAIAS which caused widespread flooding and wind damage. Public Assistance funds were

used to restore electrical infrastructure and roads damages by the storm.

       155.    Hawaiʻi has thirteen open Public Assistance awards, providing emergency relief

after landslides, wildfires, hurricanes, and the Kilauea Volcanic eruption and earthquakes.

       156.    In New York, Public Assistance funds ensured that vital public services were

stabilized and rebuilt in the wake of Superstorm Sandy, and the funds ensured that a pump station

and sewer treatment plant were repaired after Tropical Storm Debby.

       157.    Washington has relied on Public Assistance to rebuild key buildings after fire

destroyed 80% of buildings in the town of Malden, including the fire station, the city hall, library,

post office, and at least 84 homes. Washington also relied on Public Assistance funding after severe

storms to repair the Diablo Dam, a key hydroelectric asset that generates electricity and plays a

role in managing the State’s water supply.

       158.     Finally, Wisconsin used Public Assistance funds to repair critical infrastructure

after 17 tornadoes hit northern Wisconsin, causing extended power outages.

       159.    Plaintiff States have routinely applied for, and intend to continue to apply for,

Public Assistance funds whenever they suffer from an eligible major disaster, which could happen

at any time.




                                                  35
  Case 1:25-cv-00206          Document 1        Filed 05/13/25    Page 36 of 79 PageID #: 36




                b.      Disaster Case Management (“DCM”) Program

        160.    The Stafford Act also provides that the federal government “may provide case

management services, including financial assistance, to State or local government agencies or

qualified private organizations to provide such services, to victims of major disasters to identify

and address unmet needs.” 42 U.S.C. 5189d(a).

        161.    The Disaster Case Management (“DCM”) Program provides supplemental funding

to the Public Assistance funding for a State to assist disaster-impacted individual and families

through the recovery process. For example, the program funds case managers who work directly

with disaster survivors to develop and carry out the survivor’s long-term recovery plan.

        162.    The Stafford Act does not authorize DHS to impose any of the Civil Immigration

Conditions on DCM funds or impose immigration status requirements on survivors or individual

DCM service beneficiaries.

        163.    For example, Illinois has three open DCM awards, relating to disasters involving

severe storms and flooding. The original amounts of these awards totaled over $9 million. Illinois

is in the process of finalizing an additional DCM award under a disaster involving severe storms,

tornadoes, straight-line winds, and flooding that took place in seven Illinois counties during the

period July 13, 2024 to July 16, 2024. Illinois intends to apply again for DCM funds whenever

there is an eligible major disaster affecting Illinois.

        164.    Multiple Plaintiff States have routinely applied for, and intend to continue to apply

for, DCM funds whenever they suffer from an eligible major disaster, which could happen at any

time.

                c.      Hazard Mitigation Grant Program (“HMGP”)

        165.    The Stafford Act also provides that the federal government may contribute “up to

75 percent of the cost of hazard mitigation measures” which “substantially reduce the risk of, or




                                                   36
  Case 1:25-cv-00206         Document 1       Filed 05/13/25      Page 37 of 79 PageID #: 37




increase resilience to, future damage, hardship, loss, or suffering in any area affected by a major

disaster.” 42 U.S.C. § 5170c(a).

       166.    After a major disaster declaration, the Hazard Mitigation Grant Program

(“HMGP”) provides federal funding to States to develop hazard mitigation plans and rebuild in a

way that reduces future disaster losses in the communities affected by the declared disaster.

Projects eligible for HMGP funds include, but are not limited to, structural hazards control or

protection projects, construction activities, retrofitting of facilities, or development or

improvement of warning systems. 44 C.F.R. §§ 206.434(d).

       167.    For example, Colorado is using an HMPG award following the Cameron Peak Fire

to prevent further losses in the area due to wildfire. This project will reduce hazardous fuels along

47 miles of critical road infrastructure and adjacent private properties to provide a safer

environment for thousands of residents and businesses. It will also protect critical community

infrastructure, including: 41 dams, 35 schools, 15 fire and EMS stations, 4 hospitals, 4 power

plants, 3 wastewater treatment plants, and a water treatment plant. This project has a total cost of

$1.5 million ($1.14 million federal, $190,000 state, and $190,000 local) and provides over $7

million of benefits, a return on investment of $4.57 in savings for every $1.00 invested.

       168.    Similarly, Wisconsin has relied on HMGP funds to address erosion caused by high

water levels Lake Michigan, putting a sewer interceptor line at severe risk of failure. An HMPG

grant of over $7 million will protect the sanitary system in the City of Sheboygan from failure.

       169.    Washington and Oregon are both using HMPG funds to retrofit or replace water

storage facilities in the Cascadia Subduction Zone to avert severe damage in the event of an

earthquake. Absent this work, the current facilities are expected to suffer catastrophic failure

during the next significant earthquake, which would not only render water systems inoperable but

also endanger lives.



                                                 37
  Case 1:25-cv-00206           Document 1        Filed 05/13/25     Page 38 of 79 PageID #: 38




           170.   Neither the Stafford Act nor the FEMA regulations applicable to the HMGP

authorize DHS to impose any of the Civil Immigration Conditions on HMGP funds.

           171.   Multiple Plaintiff States have routinely applied for, and intend to continue to apply

for, HMPG funds whenever they suffer from an eligible major disaster, which could happen at any

time.

                  d.     Fire Management Assistance Grant (“FMAG”) Program

           172.   The Stafford Act also provides that the federal government may “provide

assistance, including grants, equipment, supplies, and personnel, to any State or local government

for the mitigation, management, and control of any fire on public or private forest land or grassland

that threatens such destruction as would constitute a major disaster.” 42 U.S.C. § 5187. One of the

purposes of these grants is to save the federal government money. Stopping a fire before it turns

into a major disaster saves lives, protects property, and reduces the funding necessary for recovery

efforts.

           173.   Funding is available under the Fire Management Assistance Grant (“FMAG”)

Program after a State’s Governor or the Governor’s Authorized Representative requests an FMAG

declaration, and FEMA grants the request.

           174.   FEMA regulations describe the criteria to be considered when evaluating a request

for an FMAG evaluation. 44 C.F.R. § 204.21. None of these criteria relate to civil immigration

policy.

           175.   As an example of how States rely on FMAG funding, Washington has 60 open

FMAG grants and has received 32 FMAG grants over the past five years. These federal funds are

critical for ensuring state and local governments have the resources necessary to evacuate affected

areas and control fires, including by renting aircraft, bulldozers, and other equipment, funding

firefighter overtime, and providing food and lodging for firefighters that travel from outside the




                                                   38
  Case 1:25-cv-00206         Document 1       Filed 05/13/25      Page 39 of 79 PageID #: 39




area to help. Washington experiences wildfires every summer, and its highest risk fire season is

between June and October.

       176.    Multiple Plaintiff States intend to apply for FMAG funds whenever they suffer

from an eligible major fire, which could happen at any time.

       3.      FEMA Mitigation Grants

       177.    In addition to preparedness grants and disaster relief grants, FEMA administers

grants programs authorized by other statutes intended to reduce risks posed by earthquakes, floods,

and other natural disasters before those disasters occur.

               a.      National Earthquake Hazards Reduction Program – Individual State
                       Earthquake Assistance (“NEHRP-ISEA”)

       178.    The National Earthquake Hazards Reduction Program – Individual State

Earthquake Assistance (“NEHRP-ISEA”) provides federal funding to States to reduce the risks to

life and property from future earthquakes in the United States through the establishment and

maintenance of an effective earthquake risk reduction program.

       179.    NEHRP-ISEA funds have been available to States since the program was created

by the Earthquake Hazards Reduction Act of 1977. The program is codified at 42 U.S.C. § 7704.

       180.    NEHRP-ISEA are available to eligible applicants, as determined by a risk formula.

Each State is entitled to a specific allocation whenever a notice of funding opportunity is posted.

       181.    The NEHRP-ISEA statute does not authorize DHS to impose any of the Civil

Immigration Conditions on NEHRP-ISEA funding.

       182.    States collectively receive millions of dollars per year in NEHRP-ISEA grants.

Many States use these funds for earthquake risk reduction programming. For instance, they use

these funds to support seismic mitigation planning, conduct seismic safety inspections of critical

structures, update building codes, zoning codes, and ordinances to enhance seismic safety, increase




                                                 39
  Case 1:25-cv-00206         Document 1       Filed 05/13/25      Page 40 of 79 PageID #: 40




earthquake awareness and education, participate in emergency management exercises, and

promote earthquake insurance.

       183.    Because each NEHRP-ISEA grant typically remains open for three years, an award

in one fiscal year usually allows States to continue to support earthquake risk reduction in at least

the two years thereafter.

       184.    As an example of how States use NEHRP-ISEA funding, Illinois passes all its funds

on to the Central United States Earthquake Consortium (CUSEC), which is a partnership among

the eight States affected by earthquakes in the central United States, including in the vicinity of

the New Madrid fault system.

       185.    Illinois currently relies on funding from the NEHRP-ISEA awards for FY2023 and

FY2024. For FY2023, Illinois received an NEHRP-ISEA award of $62,496. For FY2024, Illinois

received an NEHRP-ISEA award of $62,496.

       186.    Washington has applied for and received NEHRP-ISEA grants on many occasions

since the program began, and Washington intends to apply for an NEHRP-ISEA grant for fiscal

year 2025. Washington faces one of the highest earthquake risks in the nation. In addition to fault

lines throughout the state, including in Seattle, the Cascadia Subduction Zone off the Washington

coast is one of the most dangerous fault lines on Earth. These funds support coordination between

state and local agencies and the private sector regarding efforts to retrofit unreinforced masonry

buildings (such as brick buildings) that face the highest risk of collapse during an earthquake. In

addition, these funds support the annual Great Washington ShakeOut Campaign, which is a

statewide earthquake and tsunami drill that encourages individuals, families, schools, businesses,

and other organizations to update their emergency plans, restock their emergency supplies, secure

their spaces, and practice evacuation routes so that they can minimize harm from an earthquake or

tsunami.



                                                 40
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 41 of 79 PageID #: 41




       187.    Multiple Plaintiff States intend to apply for NEHRP-ISEA funds in FY2025.

               b.      Flood Mitigation Assistance (“FMA”)

       188.    Flood Mitigation Assistance (“FMA”) grants provide federal funding to States for

planning and carrying out activities designed to reduce the risk of flood damage to structures

covered under contracts for flood insurance with the National Flood Insurance Program, with a

focus on eliminating the risk of repetitive flood damage.

       189.    FMA funds have been available to States since the program was created by the

National Flood Insurance Reform Act of 1994. The program is codified at 42 U.S.C. § 4104c.

       190.    FMA grants are awarded on a competitive basis to specific sub-applicants, which

are generally units of local government. Units of local government present flood mitigation plans

to States, which review and present one combined application to FEMA. FEMA then makes

awards based on based on each State’s ranking of the projects, project eligibility, and cost-

effectiveness of the projects.

       191.    The FMA statute does not authorize DHS to impose any of the Civil Immigration

Conditions on FMA funding.

       192.    States collectively receive millions of dollars per year in FMA grants. They use

these funds to undertake both localized and individual flood mitigation projects. Localized projects

include drainage pipes, pump stations, grading, and seawalls to reduce flood risk in a localized

area. Individual flood mitigation operates at the property level, for instance by allowing local

governments to acquire flood-prone properties so that the owners can relocate.

       193.    Because each FMA grant typically remains open for three years, an award in one

fiscal year usually allows States to continue to support earthquake risk reduction in at least the two

years thereafter.




                                                 41
  Case 1:25-cv-00206         Document 1        Filed 05/13/25     Page 42 of 79 PageID #: 42




       194.     Multiple Plaintiff States rely on FMA funding. For example, Illinois currently relies

on funding from the FMA awards for FY2019, FY2021, and FY2022. For FY2019, Illinois

received an FMA award of $1,929,926.90. For FY2021, Illinois received an FMA award of

$2,158,695. For FY2022, Illinois received an FMA award of $373,210.50.

       195.     New Jersey currently relies on funding from the FMA awards for FYs 2018 through

2023. For FY2018, New Jersey received an FMA award of $10,925,478. For FY2019, New Jersey

received an FMA award of $21,193,033. For FY2020, New Jersey received an FMA award of

$14,101,546. For FY2021, New Jersey received an FMA award of $22,344,965. For FY2022, New

Jersey received an award of $29,266,503. For FY2023, New Jersey received an award of

$20,006,501.

       196.     Multiple Plaintiff States applied for FMA funds in FY2024, with the application

window closing on April 18, 2025. Those applications are currently under review by FEMA.

       197.     Multiple Plaintiff States intend to apply for FMA funds in FY2025.

                c.     National Dam Safety Program (“NDSP”)

       198.     National Dam Safety Program (“NDSP”) grants provide federal funding to States

to support state programs intended to ensure dam safety and thereby protect human life and

property.

       199.     NDSP funds have been available to States since the program was created by the

National Dam Safety Program Act in 1996. The program is codified at 33 U.S.C § 467f.

       200.     FEMA “shall provide assistance” under the NDSP to “assist States in establishing,

maintaining, and improving dam safety programs” in accordance with statutory criteria. 33 U.S.C

§ 467f(e)(1).

       201.     The NDSP statute does not authorize DHS to impose any of the Civil Immigration

Conditions on NDSP funding.




                                                 42
  Case 1:25-cv-00206        Document 1        Filed 05/13/25      Page 43 of 79 PageID #: 43




       202.    Plaintiff States collectively receive millions of dollars per year in NDSP grants.

Projects funded by NDSP funds include the daily work for processing permit applications for the

construction, operation, and maintenance of new dams and the modification, operation, and

maintenance of existing dams. States also use NDSP funds to support dam inspection programs.

       203.    Multiple Plaintiff States currently rely on NDPS awards. For example, Illinois

currently relies on funding from NDSP awards from FY2024. In the Spring of FY2024, Illinois

received an NDSP award of $100,078. In the Fall of FY2024, Illinois received an NDSP award

of $174,843.

       204.    New Jersey currently relies on funding from NDSP awards from FY 2024 in the

amount of $511,366 and FY2023 in the amount of $94,816.

       205.    Massachusetts received funding from NDSP awards from FY2022, FY2023, and

FY 2024. In FY2022, Massachusetts received an NDSP award of $209,257.41. In FY2023,

Massachusetts received a NDSP award of $119,563. In FY2024, Massachusetts received an NDSP

award of $645,551.

       206.    Multiple Plaintiff States intend to apply for NDPS funds in FY2025.

               d.      Community Assistance Program – State Support Services Element
                       (“CAP-SSSE”)

       207.    Community Assistance Program – State Support Services Element (“CAP-SSSE”)

grants provide federal funding to States for state-level technical assistance for the National Flood

Insurance Program (“NFIP”). The funding helps States to proactively identify, prevent, and

resolve floodplain management issues in participating communities before a flood event occurs.

       208.    CAP-SSSE funds have been available to States since the program was created by

the Flood Insurance Act of 1968.




                                                43
  Case 1:25-cv-00206          Document 1       Filed 05/13/25     Page 44 of 79 PageID #: 44




       209.      Through CAP-SSSE, each State is entitled to a base allocation whenever a notice

of funding opportunity is posted, but the States can also apply for additional discretionary and

competitive funding.

       210.      The statutes and regulations governing CAP-SSSE do not authorize DHS to impose

any of the Civil Immigration Conditions on CAP-SSSE funding.

       211.      States collectively receive millions of dollars per year in CAP-SSSE grants. Uses

of CAP-SSEE funds include support for the salaries of NFIP employees, who educate and train

local officials on how to build floodplain management efforts to assure continued eligibility to

participate in NFIP.

       212.      Each CAP-SSSE grant typically remains open for one year.

       213.      Multiple Plaintiff States currently rely on CAP-SSSE funding. For example, Illinois

currently relies on funding from a CAP-SSSE award for FY2024. In FY2024, Illinois received a

CAP-SSSE award of $293,318.

       214.      New Jersey currently relies on funding from a CAP-SSSE award for FY2024. In

FY2024, Illinois received a CAP-SSSE award of $504,104.

       215.      Multiple Plaintiff States intend to apply for CAP-SSSE funds in FY2025.

                 e.     National Urban Search & Rescue Response System (“US&R”)

       216.      National Urban Search & Rescue Response System (“US&R”) grants provide

federal funding to States to ensure adequate management, training, exercise, procurement, storage,

and maintenance for joint national-state task forces staffed and equipped to conduct around-the-

clock search and rescue operations following a major disaster or emergency declared under the

Stafford Act. When deployed, these task forces support other state and local emergency responders

in conducting mass search and rescue operations in the immediate aftermath of a natural or man-

made disaster.




                                                 44
  Case 1:25-cv-00206         Document 1       Filed 05/13/25      Page 45 of 79 PageID #: 45




       217.    For example, since its formation in 2016, New Jersey’s urban search and rescue

team has provided advanced technical search and rescue capabilities in response to several

catastrophic disasters across the county including Hurricane Harvey in 2017, Hurricane Dorian in

2019, Hurricane Ida in 2021, Hurricane Ian in 2022, and Hurricanes Helene and Milton in 2024

among numerous others.

       218.    US&R funds have been available to States since the program was created by FEMA

in 2005. 44 C.F.R. § 208.1 et. seq.

       219.    Because US&R grants are formula grants and not competitive grants, each State is

entitled to a specific allocation whenever a notice of funding opportunity is posted.

       220.    The statutes and regulations governing US&R grants do not authorize DHS to

impose any of the Civil Immigration Conditions on US&R funding.

       221.    States collectively receive millions of dollars per year in US&R grants.

       222.    Because each US&R grant typically remains open for three years, an award in one

fiscal year usually allows States to continue to support urban search and rescue efforts in at least

the two years thereafter.

       223.    In FY2023, New Jersey received a US&R award of $1,409,884.

       224.    Multiple Plaintiff States intend to apply for US&R funds in FY2025.

               f.      Cooperating Technical Partners Program (“CTP”)

       225.    Cooperating Technical Partners Program (“CTP”) grants provide federal funding

to States to participate in the FEMA flood mapping program. The funding helps States to

proactively identify flood hazards, make risk assessments, and support local communities to take

action to reduce the risk of flooding.

       226.    CTP funds have been available to States since the program was created by FEMA

in 2001 through 66 Fed. Reg. 30925 (2001).




                                                45
  Case 1:25-cv-00206        Document 1        Filed 05/13/25      Page 46 of 79 PageID #: 46




       227.    The statutes and regulations governing CTP grants do not authorize DHS to impose

any of the Civil Immigration Conditions on CTP funding.

       228.    States collectively receive millions of dollars per year in CTP grants. They use these

funds to support the salaries of agency employees who work on flood risk mapping projects.

       229.    New Jersey currently relies on funding from CTP awards for FY2018, FY2021,

FY2022, FY2023, and FY2024. In FY2018, New Jersey received a CTP award of $2,988,193. In

FY2021, New Jersey received a CTP award of $105,000. In FY2022, New Jersey received a CTP

award of $240,000. In FY2023, New Jersey received a CTP award of $291,000. In FY2024, New

Jersey received a CTP award of $40,000.

       230.    Multiple Plaintiff States intend to apply for CTP funds in FY2025.

       4.      Non-FEMA DHS Grants

       231.    Finally, DHS sub-agencies other than FEMA also administer grant programs on

which the States rely.

       232.    Specifically, the State Recreational Boating Safety (“RBS”) grant program,

operated by Defendant USCG, provides federal funding to States to assist States carrying out their

own state recreational boating safety programs that meet certain federal requirements, thereby

promoting uniform standards for boating safety across the country.

       233.    RBG grant funds have been available to States since the program was created by

the Federal Boat Safety Act of 1971, Pub. L. 92-75, 85 Stat. 213 (codified as amended at 46 U.S.C.

§ 13101 et seq.).

       234.    Because RBS grants are formula grants and not competitive grants, each State is

entitled to a specific allocation whenever a notice of funding opportunity is posted. See 46 U.S.C.

§ 13104 (detailing funding formula).




                                                46
  Case 1:25-cv-00206         Document 1          Filed 05/13/25      Page 47 of 79 PageID #: 47




       235.     The RBS statutes do not authorize DHS to impose any of the Civil Immigration

Conditions on RBS funding.

       236.     States collectively receive millions of dollars per year in RBS grants. States use

these funds for recreational boating safety programming. For instance, they use these funds to

support the salaries of law enforcement who work on boat safety enforcement, to fund on-water

safety training, to purchase aids in navigation on navigable waterways, and to help maintain state-

level boat registration and titling databases.

       237.     Each RBS grant typically remains open for one year.

       238.     On April 4, 2025, the USCG provided formal notification to Plaintiff States of their

FY2025 allocations under the RBS program. Those allocations are set out in Table 6 below:

            Table 6: Funds Allocated to Plaintiff States for RBS Program for FY2025

 Plaintiff State                                     FY2025 Allocation

 California                                             $5,443,096

 Colorado                                               $1,143,289

 Connecticut                                            $1,513,650

 Delaware                                               $1,111,080

 Hawaiʻi                                                $927,355

 Illinois                                               $1,710,304

 Maine                                                  $1,466,596

 Maryland                                               $3,964.905

 Massachusetts                                          $2,390,327

 Michigan                                               $7,368,925

 Minnesota                                              $3,962,181

 Nevada                                                 $1,018,081



                                                   47
  Case 1:25-cv-00206         Document 1       Filed 05/13/25       Page 48 of 79 PageID #: 48




 New Jersey                                           $2,703,231

 New Mexico                                           $936,451

 New York                                             $2,901,786

 Oregon                                               $2,235,584

 Rhode Island                                         $1,077,219

 Vermont                                              $963,614

 Washington                                           $2,573,759

 Wisconsin                                            $3,902,902

 TOTAL                                             $45,353,395


B.     States Have Exercised Their Sovereign Prerogative To Choose How To Deploy Law
       Enforcement Resources Within Their Jurisdictions.

       239.    Plaintiff States are responsible for maintaining the day-to-day safety of all residents

of their communities. Plaintiff States enact statutes and establish policies to effectively enforce

state and local laws, keep public order, and provide public safety services. See United States v.

Morrison, 529 U.S. 598, 618 (2000) (“Indeed, we can think of no better example of the police

power, which the Founders denied the National Government and reposed in the States, than the

suppression of violent crime and vindication of its victims.”).

       240.    One critical choice that Plaintiff States can make in doing so is whether to devote

their scarce law enforcement and other agency resources to assisting the federal government in

enforcing federal civil immigration law.

       241.    Many Plaintiff States and their political subdivisions, for decades, have chosen to

limit their entanglement in the enforcement of federal immigration law. See, e.g., 5 Ill. Comp. Stat.

805/1 to /20; 5 Cal. Gov. Code §§ 7282, 7282.5, 7283-7283.2, 7284-7284.12; N.J. Att’y Gen.

Directive 2018-6; Wash. Rev. Code Ann. §§ 10.93.160, 43.10.315; Colo. Rev. Stat. § 24-76.6-102



                                                 48
  Case 1:25-cv-00206         Document 1       Filed 05/13/25      Page 49 of 79 PageID #: 49




to -103; Conn. Gen. Stat. Ann. § 54-192h; Or. Rev. Stat. § 181A.820; Vt. Stat. Ann. tit. 20, § 4651;

N.Y. Exec. Orders 170 and 170.1. Many of these States have determined that public safety and

law enforcement benefit from a relationship of trust between immigrant communities and state and

local law enforcement. Their laws and policies uniformly authorize state and local authorities to

comply with all applicable federal laws, but impose limitations on the circumstances under which

state and local officers can devote their own resources to assisting the federal government in

enforcing federal immigration law.

       242.    These laws and policies are based on the considered experience of law enforcement

agencies, which demonstrates that persons who lack lawful immigration status or have family

members or friends who lack lawful immigration status are less likely to report a crime as victims

or witnesses if they fear that the responding officer will turn them over to civil immigration

authorities. This reluctance makes it increasingly difficult for officers to solve crimes and bring

suspects to justice, putting all residents at risk. See, e.g., Directive 2018-6, at 1; Cal. Gov. Code

§ 7284.2.

       243.    These States’ determination is also well-supported by analyses of empirical data.

Numerous studies have confirmed that immigration-related fears prevent witnesses, victims, and

others from reporting crimes. Surveys of law enforcement officers and analyses of victim reporting

data conclude that fear of immigration enforcement decreased immigrant victims’ likelihood of

making police reports and reporting domestic violence, participating in investigations, and

working with prosecutors. See Rafaela Rodrigues et al., Promoting Access to Justice for Immigrant

and Limited English Proficient Crime Victims in an Age of Increased Immigration Enforcement:

Initial Report from a 2017 National Survey at 72-73, National Immigrant Women’s Advocacy




                                                 49
  Case 1:25-cv-00206         Document 1        Filed 05/13/25       Page 50 of 79 PageID #: 50




Project (May 3, 2018).7 One study estimated that policies designed to foster greater trust between

immigrant communities and police could cause an additional 90,000 violent incidents per year to

be reported to law enforcement nationwide. See Ricardo D. Martínez-Schuldt & Daniel E.

Martínez, Immigrant Sanctuary Policies and Crime-Reporting Behavior: A Multilevel Analysis of

Reports of Crime Victimization to Law Enforcement, 1980 to 2004, 86 Am. Sociological Rev. 154,

170 (2021).

       244.    Illinois, for instance, has codified its commitment to building trust between

immigrant communities and state and local law enforcement officers in the TRUST Act, which

was enacted in 2017 by the Illinois General Assembly and signed into law by Bruce Rauner, then

the Republican Governor of Illinois. The TRUST Act provides that law enforcement agencies and

officers in Illinois may not detain a person solely on the basis of an “immigration detainer” or a

civil immigration warrant, 5 ILCS 805/15(a), and generally prohibits them from detaining people

solely on the basis of citizenship or immigration status, id. § 805/15(b). The statute also prohibits

state and local law enforcement officials from assisting federal immigration agents in any

enforcement operations, id. § 805/15(h)(1); providing access to detained individuals to

immigration agents, id. § 805/15(h)(2); and giving immigration agents non-public information

about the release dates of detained individuals, id. § 805/15(h)(7). But the TRUST Act expressly

allows state and local law enforcement officers to cooperate with federal immigration enforcement

actions when “presented with a federal criminal warrant” or “otherwise required by federal law,”

id. § 805/15(h), and also expressly states that it should not be read to “restrict” information-sharing

regarding “citizenship or immigration status” in accordance with two federal statutes, 8 U.S.C.

§ 1373 and § 1644, id. § 805/5.



7 Available at http://library.niwap.org/wp-content/uploads/Immigrant-Access-to-Justice-

National-Report.pdf.


                                                  50
  Case 1:25-cv-00206           Document 1      Filed 05/13/25      Page 51 of 79 PageID #: 51




       245.       New Jersey’s Immigrant Trust Directive (“ITD”), Directive 2018-6, for instance,

likewise is meant to build a cooperative relationship between immigrant communities and law

enforcement. Issued by the New Jersey Attorney General, the State’s chief law enforcement

officer, the ITD carries the force of law and is binding on all New Jersey state and local law

enforcement agencies. It is designed to help communities draw a clear distinction between state

and local officers who enforce state criminal law, and federal immigration officers who enforce

federal civil immigration law. For instance, it limits federal immigration officers’ access to state

and local law enforcement facilities, and to individuals detained within them, and it prevents state

and local law enforcement from providing notice of most detainees’ upcoming release from

custody, or for holding most detainees solely pursuant to a civil detainer request. See Directive

2018-6, at 3-4.

       246.       At the same time, the ITD also contains provisions to ensure that New Jersey’s law

enforcement agencies and officers comply with federal law and that violent criminals are held

accountable. The ITD allows state and local law enforcement officers to assist federal immigration

authorities where state and federal law require. State and local officers can provide assistance to

comply with federal court orders and judicial arrest warrants. They can participate in joint law

enforcement efforts with federal authorities in efforts unrelated to civil immigration enforcement

and can help federal immigration authorities in exigent circumstances. The ITD also permits state

and local law enforcement to notify immigration authorities about the release of certain detainees

with particularly serious criminal histories, and to continue to hold those detainees pursuant to

immigration detainers. And the ITD is also clear that it should not be construed to restrict or

prohibit a state or local law enforcement agency or officer from maintaining information about the

citizenship or immigration status of any individual, or providing that information to or receiving

it from the federal government.



                                                  51
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 52 of 79 PageID #: 52




       247.    Likewise, in 2017, California enacted Senate Bill 54 (SB 54), known as the

California Values Act, Cal. Gov’t Code §§ 7284-7284.12, to “foster trust between California’s

immigrant community and state and local agencies,” to “ensure effective policing, to protect the

safety, well-being, and constitutional rights of the people of California,” and “to direct the state’s

limited resources to matters of greatest concern to state and local governments.” Id. § 7284.2. In

furtherance of those objectives, the Values Act sets the parameters under which California law

enforcement agencies may assist in immigration enforcement. For example, the Values Act: (a)

prohibits compliance with detainer hold requests, id. § 7284.6(a)(1)(B); (b) defines when

California law enforcement agencies may comply with requests by immigration authorities seeking

the release date and time of a person in advance of the person’s release, i.e., notification requests,

id. §§ 7282.5(a), 7284.6(a)(1)(C); (c) defines when California law enforcement agencies may

transfer an individual to immigration authorities—including when authorized by a judicial warrant

or judicial probable cause determination, id. §§ 7282.5(a), 7284.6(a)(4); and (d) restricts California

law enforcement agencies from “[p]roviding personal information . . . about an individual” for

“immigration enforcement purposes,” unless that information is publicly available, id.

§ 7284.6(a)(1)(D).

       248.    The Values Act, however, does not prohibit California law enforcement agencies

from asserting its own jurisdiction over criminal law enforcement matters, id. § 7284.6(f), and

permits other forms of cooperation with immigration authorities. It does not restrict law

enforcement agencies from responding to requests from immigration authorities for a specific

person’s criminal history. Id. § 7284.6(b)(2). The Values Act permits law enforcement agencies to

participate in task forces with immigration authorities or share confidential information if the

“primary purpose” of the task force is not immigration enforcement. Id. § 7284.6(b)(3). And it

expressly authorizes compliance with all aspects of 8 U.S.C. §§ 1373 and 1644. Id. § 7284.6(e).



                                                 52
  Case 1:25-cv-00206          Document 1        Filed 05/13/25      Page 53 of 79 PageID #: 53




        249.    Maryland law enables law enforcement to investigate crime regardless of

immigration status while also encouraging immigrant communities to cooperate with law

enforcement. Maryland law generally prohibits law enforcement agents from inquiring about an

individual’s “citizenship, immigration status, or place of birth during a stop, a search, or an arrest,”

while engaging in the performance of “regular police functions” and prohibits law enforcement

agents from detaining, or extending the detention of, an individual for the purposes of

“investigating the individual’s citizenship or immigration status, or based on the suspicion that the

individual has committed a civil immigration violation.” Md. Code Ann., Crim. Proc. § 5-104. It

also prohibits law enforcement agents from intimidating, threatening, or coercing any individual

on the basis of the actual or perceived immigration status of the individual or their family member,

legal guardian, or someone whom they serve as a guardian, and from transferring an individual to

federal immigration authorities unless specifically required to do so by federal law. Id. specifically

states, “Nothing in this subsection shall prevent a law enforcement agent from inquiring about any

information that is material to a criminal investigation.” Id.

        250.    Maryland law also restricts State and local officials from sharing an individual’s

photograph or “personal information,” such as their address, with a federal agency seeking to

enforce the immigration laws. Md. Code Ann., Gen Prov. § 4-320.1(b). However, it will share

such information with a federal agency seeking to enforce immigration laws when a judicial

warrant is presented. Id.

        251.    Some States have likewise determined that it will interfere with important public

welfare functions if state employees divert non-law enforcement resources to engage in

unnecessary inquiries into individuals’ immigration status, fulfill information requests by federal

immigration officials not required by law, or facilitate civil immigration arrests in state buildings.

E.g., New York Exec. Order 170 (Sept. 15, 2017); New York Exec. Order 170.1 (Apr. 25, 2018).



                                                  53
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 54 of 79 PageID #: 54




       252.    Other Plaintiff States have made different decisions or are subject to different rules

in this context. For instance, some Plaintiff States must comply with state court rulings that prevent

them from cooperating with civil immigration detainer requests. See Lunn v. Commonwealth, 477

Mass. 517, 518-19 (2017).

       253.    Still other Plaintiff States without codified directives of the kind described above

have not imposed categorical limitations on the use of law-enforcement or state agency resources

to assist in the enforcement of federal immigration law. However, they nonetheless do not impose

categorical requirements of this kind on their law enforcement officers and state agency

employees.

       254.     Some of these States have concluded that participating in federal immigration

enforcement efforts imposes substantial costs on local jurisdictions, not only in the form of

personnel and resources but also in the form of potential civil liability. And some such States have

reasoned that even where law-enforcement resources are dedicated to assisting with enforcement

of federal immigration law, it is preferable to retain critical decision-making authority regarding

when to offer those resources and how many resources to offer.

       255.    Thus, although Plaintiff States have made different decisions regarding the use of

their law enforcement and agency resources, all Plaintiff States’ decisions in this area are

consistent with the basic rule that the States “remain independent and autonomous within their

proper sphere of authority,” Printz, 521 U.S. at 928—a principle that has no greater force than in

the context of States’ exercise of their police powers for the protection of their residents.

C.     Defendants Impose the Civil Immigration Conditions.

       256.    Since January 2025, Defendants have engaged in a concerted campaign to pressure

States to serve as enforcers of federal immigration law, subverting the design of each DHS grant

program.




                                                 54
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 55 of 79 PageID #: 55




       257.    On January 20, 2025, his first day in office, President Trump issued an executive

order directing the Secretary of Homeland Security to “ensure that so-called ‘sanctuary’

jurisdictions do not receive access to Federal funds,” and to take “any other lawful actions, criminal

or civil” that the Secretary of Homeland Security deem warranted. Exec. Order No. 14159, 90 Fed.

Reg. 8443 (2025).

       258.    This was not President Trump’s first time announcing an intent to use conditions

on federal funding to coerce states into adopting his preferred set of policies. The first Trump

Administration imposed immigration-enforcement conditions on funding Plaintiff States received

from the Byrne Justice Access Grants Program. These immigration-enforcement conditions

prompted extensive litigation, in which courts repeatedly held the immigration-enforcement

conditions to exceed the Department’s statutory authority. City of Providence v. Barr, 954 F.3d

23, 42 (1st Cir. 2020); City of Philadelphia v. Att’y Gen. of United States, 916 F.3d 276, 290 (3d

Cir. 2019); City of Chicago v. Barr, 961 F.3d 882, 894 (7th Cir. 2020); City & Cnty. of San

Francisco v. Barr, 965 F.3d 753, 761 (9th Cir. 2020); City of Los Angeles v. Barr, 941 F.3d 931,

944 (9th Cir. 2019); Colorado v. U.S. Dep’t of Justice, 455 F. Supp. 1034 (D. Colo. 2020); City of

Evanston v. Sessions, 2018 WL 10228461 (N.D. Ill. 2018); see also City of Albuquerque v. Barr,

515 F. Supp. 3d 1163 (D. N.M. 2021) (granting preliminary injunction); but see New York v. Dep’t

of Justice, 951 F.3d 84 (2d Cir. 2020).

       259.    On February 19, 2025, the DHS Secretary issued a memorandum to all USDHS

agencies and offices titled “Restricting Grant Funding for Sanctuary Jurisdictions” (the “Directives

Memorandum”), attached as Exhibit A. The Directives Memorandum directed all DHS agencies

and offices to review all federal financial assistance and, consistent with DHS’ immigration

initiatives, cease federal funding to what DHS deems “sanctuary” jurisdictions. The DHS




                                                 55
  Case 1:25-cv-00206        Document 1         Filed 05/13/25   Page 56 of 79 PageID #: 56




Secretary also directed components to make criminal referrals to the Department of Justice for any

resistance or non-compliance with lawful immigration-related commands.

       260.    On March 20, 2025, then-interim FEMA Administrator Cameron Hamilton sent a

memorandum to the DHS Secretary titled “Approval of FEMA-Administered Grant

Disbursements,” attached as Exhibit B. Hamilton’s memorandum listed FEMA’s grant programs

and identified twelve specific grant programs that, in his view, might lawfully be limited to non-

“sanctuary” jurisdictions. Hamilton recommended applying targeted terms that would limit

funding under these twelve programs to States that helped assist in enforcing federal immigration

law—but only those twelve programs. Hamilton’s recommendation regarding these twelve

programs was not supported by any statutory authority or any analysis of the basis for DHS’s

authority to impose conditions on grant programs.

       261.    DHS did not adopt Hamilton’s recommendations. Instead, on March 27, 2025, DHS

posted on its website the FY 2025 DHS Standard Terms and Conditions, Version 2, and on April

18, 2025, DHS posted on its website the FY 2025 DHS Terms and Conditions, Version 3 (the

“Terms and Conditions,” attached as Exhibit C). These Terms and Conditions govern “all new

federal awards of federal financial assistance (federal awards) for which the federal award date

occurs in FY 2025,” including those that Hamilton had previously recommended against attaching

any immigration-related terms or conditions.

       262.    Section C.IX of the Terms and Conditions includes conditions titled

“Communication and Cooperation with the Department of Homeland Security and Immigration

Officials.” These conditions require recipients and subrecipients of any DHS federal awards to

“comply with the following requirements related to coordination and cooperation with” federal

immigration authorities, including, as summarized below:

               •   The Information Sharing Condition (C.IX.1.a): Grant recipients “must comply
                   with the requirements of 8 U.S.C. §§ 1373 and 1644,” which prohibit


                                                 56
  Case 1:25-cv-00206        Document 1        Filed 05/13/25      Page 57 of 79 PageID #: 57




                   restrictions on government entities or officials exchanging information with
                   DHS concerning the citizenship or immigration status, lawful or unlawful, of
                   any individual.

               •   The Compliance Condition (C.IX.1.b): Grant recipients must comply with
                   various criminal laws that prohibit, among other things, “encouraging or
                   inducing” noncitizens to unlawfully enter the United States.

               •   The Cooperation Condition (C.IX.1.c): Grant recipients must “honor requests
                   for cooperation, such as participation in joint operations, sharing of
                   information, or requests for short term detention of an alien pursuant to a valid
                   detainer.”

               •   The Access Condition (C.IX.1.d): Grant recipients must provide federal
                   immigration agents “access to detainees” in correctional facilities to inquire as
                   to such individuals’ right to be or remain in the United States.

               •   The Publicization Condition (C.IX.1.e): Grant recipients must not “leak or
                   otherwise publicize the existence of” any federal immigration enforcement
                   operations.

               •   The Certification Condition (C.IX.2): Grant recipients must certify compliance
                   with the above conditions and require subgrant recipients to do the same.

       263.    Finally, Section C.XVII of the Terms and Conditions, titled “Anti-Discrimination,”

imposes an additional immigration condition on all DHS awards (the Benefits Condition). The

Benefits Condition requires recipients of grant awards to certify that “[t]hey do not, and will not

during the term of this award, operate any program that benefits illegal immigrants or incentivizes

illegal immigration.” But the condition does not define “benefits” or “incentivizes.”

       264.    The Civil Immigration Conditions that Plaintiff States challenge include both the

conditions listed in Section C.IX of the Terms and Conditions and the Benefits Condition. Plaintiff

States challenge the Civil Immigration Conditions and also reserve the right to challenge additional

requirements imposed by the Terms and Conditions.

       265.    DHS announced that the Standard Terms and Conditions are applicable to all new

federal awards made by DHS, including its sub-agencies, for which the federal award date occurs

in FY 2025.




                                                57
  Case 1:25-cv-00206        Document 1        Filed 05/13/25      Page 58 of 79 PageID #: 58




       266.    On April 28, 2025, President Trump issued another Executive Order relating to

jurisdictions with policies designed to improve relations between law enforcement and

communities. See Exec. Order No. 14287, 90 Fed. Reg. 18761 (2025). The EO requires “the

Attorney General, in coordination with [DHS]” to publish a “list” of “sanctuary jurisdictions” and

to “notify each sanctuary jurisdiction regarding its defiance of Federal immigration law

enforcement and any potential violations of Federal criminal law.” Id. § 2(a). The Attorney

General and DHS are to publish this list within 30 days, meaning May 28, 2025. Id.

       267.    Section 3(a) of the April 28 Executive Order then directs agencies to “identify

appropriate Federal funds to sanctuary jurisdictions, including grants and contracts, for suspension

or termination, as appropriate,” id. § 3(a), 90 Fed. Reg. at 18761-62, expanding to all federal

agencies a similar directive in the January 20 Executive Order that applied only to the Attorney

General and DHS, 90 Fed. Reg. at 8446, § 17.

       268.    Since adopting the FY 2025 Standard Terms and Conditions, Defendants have

taken multiple steps to secure Plaintiff States’ agreement to them.

       269.    All Plaintiff States receive annual funding through the Recreational Boat Safety

grant program, operated by Defendant USCG. This program provides federal funding to States to

assist States carrying out their own state recreational boating safety programs that meet certain

federal requirements, thereby promoting uniform standards for boating safety across the country

       270.    On April 4, 2025, the USCG emailed all state agencies receiving funding through

the RBS program to provide notification of the final FY2025 awards under the program. Some

Plaintiff States have received award packages, requesting that Plaintiff States execute their

acceptance of the final FY25 awards and all applicable conditions, including the Civil Immigration

Conditions.




                                                58
  Case 1:25-cv-00206        Document 1        Filed 05/13/25      Page 59 of 79 PageID #: 59




        271.   Many Plaintiff States have been unable to accept their FY2025 RBS award because

they cannot, or are not willing to, comply with the Civil Immigration Conditions. DHS has thus

required them to choose between obtaining federal funds under the RBS program—funds

supporting safety measures on which they have relied for years—and adhering to the manner in

which they have chosen to deploy law enforcement resources.

        272.   Defendant FEMA has also recently taken steps to require Plaintiff States to certify

compliance with the Civil Immigration Conditions.

        273.   For instance, FEMA’s regulations provide that a “State must have a signed and up-

to-date FEMA-State Agreement before receiving Federal funding for fire management assistance

grants” and that “FEMA will provide no funding absent a signed and up-to-date Agreement.” 44

C.F.R. § 204.25.

        274.   FEMA sent Washington a FEMA-State Agreement for 2025 on April 18, 2025.

Section II(F)(3) of that Agreement incorporates DHS’s Standard Terms and Conditions, and thus

the Civil Immigration Conditions, which Washington cannot agree to.

        275.   By conditioning Washington’s access to critical federal disaster funds—including

funds that enable the State to fight wildfires of the kind that burned over 300,000 acres of land in

2024—on its agreement to the Civil Immigration Conditions, FEMA has put Washington in an

untenable position: accept unlawful conditions that allow the federal government to conscript state

law enforcement officers into enforcing federal immigration laws or risk out-of-control wildfires

that could damage thousands of acres of state land, destroy state-owned and private property, and

take lives.

        276.   Washington’s highest risk fire season runs from June to October, so it needs a

decision imminently about whether the federal government may withhold federal firefighting

funds based on a State not accepting DHS’s Standard Terms and Conditions.



                                                59
  Case 1:25-cv-00206         Document 1     Filed 05/13/25      Page 60 of 79 PageID #: 60




       277.    Similarly, New Jersey relies on FMAG funding to construct field camps, to

purchase equipment, materials, supplies, and to mobilize personnel in response to major fires. A

major fire that is estimated to have burned over 15,000 acres occurred in Ocean County, New

Jersey in May 2025, during which the Acting Governor of New Jersey, on behalf the New Jersey

Office of Emergency Management, requested FEMA assistance in the form of grant under FMAG.

The Acting Governor subsequently submitted a written request for FMAG funds to assist the state

with paying costs associated with fighting the fire. FEMA has advised that to secure the FMAG

funding that has been requested, the New Jersey Department of Law and Public Safety will have

to agree to comply with the terms of a new Fire Management Assistance FEMA-State agreement.

That agreement states that it is “subject to” the “DHS Standard Terms and Conditions for grants

in effect at the date of this Agreement.”

       278.    States also face imminent demands to certify the Civil Immigration Conditions as

to prior-year applications that are only now being granted and finalized for award. The Illinois

Emergency Management Agency – Office of Homeland Security (“IEMA-OHS”), for instance,

applied for an FY 2024 SLCGP grant. In January 2025, IEMA-OHS was told by FEMA that its

FY 2024 application had been approved at a funding level of $6,833,696.00. On May 6, 2025, a

FEMA official further stated that there was final approval to move forward with the FY 2024

SLCGP grant, meaning that IEMA-OHS will imminently receive an award document for its

ratification, and will be forced to choose between signing the new Civil Immigration Conditions

and winding down its support of cybersecurity measures that prevent cyberterrorism.

       279.    As another example, Plaintiff New Jersey has recently received a final HMGP

award under a presidential disaster declaration that occurred in August 2023. In connection with

the final award letter to New Jersey, a FEMA official stated that the HMGP award would be subject

to the latest version of the DHS Standard Terms and Conditions, which include the Civil



                                               60
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 61 of 79 PageID #: 61




Immigration Conditions. Plaintiff States disagree with the assertion that the new DHS Standard

Terms and Conditions would apply to awards issued under presidential disaster declarations that

occurred in prior fiscal years. Nevertheless, the FEMA official’s statement demonstrates

Defendants’ efforts to impose the Civil Immigration Conditions broadly, and the uncertainty about

the Conditions’ application puts States into the impossible position of choosing between their

sovereign independence and critical funding for disaster recovery.

D.     The Civil Immigration Conditions Are Unlawful.

       280.    The Civil Immigration Conditions overstep the Executive Branch’s authority in

numerous respects by attempting to use funds authorized and appropriated by Congress to support

the States to instead coerce the States and their subdivisions into adhering to the policy priorities

of the current administration.

       281.    “The Federal Government may not compel the States to implement, by legislation

or executive action, federal regulatory programs.” Printz, 521 U.S. at 925. “That is true whether

[it] directly commands a State to regulate or indirectly coerces a State to adopt a federal regulatory

system as its own.” Nat’l Fed’n of Indep. Bus. v. Sebelius (“NFIB”), 567 U.S. 519, 580 (2012)

(opinion of Roberts, C.J.). The Civil Immigration Conditions attempt to do exactly that—and they

do so by trying to use funds that Congress has appropriated to support the States and their residents

in unrelated aims.

       282.    In doing so, the Civil Immigration Conditions upset the constitutional balance of

power between the Executive Branch and Congress. An “agency literally has no power to act . . .

unless and until Congress confers power upon it.” La. Pub. Serv. Comm’n v. FCC, 476 U.S. 355,

374 (1986). And if Congress wishes to upset the federal-state balance of power, as the Civil

Immigration Conditions do, “it must make its intention to do so unmistakably clear in the language

of the statute.” Gregory v. Ashcroft, 501 U.S. 452, 460 (1991). Here, no statute confers upon DHS




                                                 61
  Case 1:25-cv-00206          Document 1      Filed 05/13/25      Page 62 of 79 PageID #: 62




the power to impose an across-the-board condition requiring States to engage in federal

immigration enforcement efforts to obtain federal funds, and the legislation authorizing the grant

programs at issue in this litigation does not permit such an approach. The Civil Immigration

Conditions are therefore ultra vires action by DHS.

           283.   Indeed, many of the authorizing statutes expressly forbid DHS from withholding

grant money from the States. See, e.g., 6 U.S.C. § 605(e)(1)(A)(v) (the FEMA administrator “shall

ensure” that each State receive a minimum allocation of SHSP funds); id. § 665g(l) (the DHS

Security “shall first apportion” a baseline percentage of each year’s apportionment of SLCGP

funds to each State and “shall apportion” the remaining to States on a population-share basis); id.

§ 762(d) (the FEMA administrator “shall first apportion” a baseline amount of each year’s

apportionment of EMPG funds to States and “shall apportion” the remainder of such amounts on

a population-share basis). The Civil Immigration Conditions thus overturn Congress’s carefully

designed statutory schemes for each grant program.

           284.   The Supreme Court has held that statutes should not be read to alter the “usual

constitutional balance between the States and the Federal Government” unless that intention is

“unmistakably clear in the language of the statute.” Gregory, 501 U.S. at 460. But the Civil

Immigration Conditions also purport to remake the federal-state balance of power without any

clear statement from Congress authorizing abridgement of Plaintiff States’ “substantial sovereign

powers.” Id. at 461; see also Gonzales v. Oregon, 546 U.S. 243, 275-76 (2006) (concluding that

“the background principles of our federal system” foreclosed reading a statute to confer authority

on agency to regulate areas traditionally supervised by the States). DHS identifies no statute that

could plausibly be read to permit it to use billions of dollars in federal funds as a cudgel to force

the States to devote their law enforcement resources in this way, much less a statute that says so

clearly.



                                                 62
  Case 1:25-cv-00206         Document 1       Filed 05/13/25      Page 63 of 79 PageID #: 63




       285.    The Civil Immigration Conditions are also arbitrary and capricious under the

Administrative Procedure Act (“APA”). The APA requires that agencies’ decisions be supported

by a rational connection between the choice made and the facts underlying that choice. It also

requires that a deviation from agency policy be acknowledged and supported by a reasoned

explanation or justification. See 5 U.S.C. § 706(2)(C). DHS’s imposition of the Civil Immigration

Conditions is supported by neither.

       286.    DHS imposed sweeping new substantive conditions on the receipt of federal funds,

imperiling billions of dollars in annual funding to the States. The funds that DHS is holding hostage

are meant to fund emergency preparedness, flood mitigation, recovery from hurricanes and fires,

and more. Plaintiff States have received grants administered by DHS for decades—in many cases,

year over year—and rely on such funding for critical disaster preparedness, mitigation, and relief

efforts. DHS now insists that the States are not entitled to these funds unless they help enforce

federal immigration law. But it identifies no legal basis for imposing such a sweeping new

condition for the first time across the entire span of the agency’s multi-billion-dollar funding

portfolio. And its decision to impose these conditions on all DHS grant programs, across the board,

with no regard for the purpose of the individual grant program or the statutory scheme that

undergirds it, is the antithesis of the kind of reasoned decision making that the APA requires.

Agencies cannot execute an about-face of this sort without a reasoned justification that considers

all relevant factors—including, at bare minimum, the statutory scheme, the States’ substantial

reliance interests, and the detrimental effects of imposing the condition on state and local law

enforcement. DHS’s failure to offer any reasoned explanation for its imposition of the conditions

transparently violates the APA.

       287.    Finally, the Civil Immigration Conditions are also unconstitutional as an unlawful

encroachment on the constitutional province of the States under the Spending Clause and the Tenth



                                                 63
  Case 1:25-cv-00206         Document 1       Filed 05/13/25      Page 64 of 79 PageID #: 64




Amendment. Although the Spending Clause allows Congress to decide how to spend funds, the

Civil Immigration Conditions exceed Congress’s authority under the Spending Power in multiple

respects.

       288.    First, federal grant conditions are illegitimate if they are unrelated to the purposes

of project to which they are attached. South Dakota v. Dole, 483 U.S. 203, 207-08 (1987). The

Civil Immigration Conditions fail this test, as none relate to the programmatic goals of the grant

programs that Congress created: supporting state emergency preparedness and response efforts.

       289.    Second, States must be able to reject Civil Immigration Conditions in both theory

and fact. Where, as here, the size of the financial inducement at stake goes much further than “mild

encouragement,” the coercive act amounts to an unconstitutional “gun to the head.” NFIB, 567

U.S. at 580 (opinion of Roberts, C.J.). Here, DHS threatens to deprive Plaintiff States of all DHS

funding—“not merely a ‘relatively small percentage,’ . . . but all of it,” id. at 581 (quoting Dole,

483 U.S. at 211)—if they do not comply with the Civil Immigration Conditions. The sums

implicated by such a funding cut are significant and constitute a substantial portion of each of

Plaintiff States’ emergency preparedness budget. That portion increases when accounting for how

much of each of Plaintiff States’ budget is already committed to staff salaries and other items that

cannot be reallocated. Losing those grants would abruptly terminate ongoing emergency

management programming. Plaintiff States and millions of their residents would be placed at risk

of disasters similar to those that prompted Congress to create federal grant programs after

September 11 and Hurricane Katrina. The financial scale of the affected grant programs and the

substantial human cost of forgoing them each render the Civil Immigration Conditions sufficiently

coercive as to be unconstitutional.

       290.    Finally, when the federal government wishes to condition the States’ receipt of

federal funds, it “must do so unambiguously,” Pennhurst State Sch. & Hosp. v. Halderman, 451



                                                64
  Case 1:25-cv-00206         Document 1           Filed 05/13/25   Page 65 of 79 PageID #: 65




U.S. 1, 17 (1981), such that States can “exercise their choice knowingly, cognizant of the

consequences of their participation.” Dole, 483 U.S. at 207. The Civil Immigration Conditions are

hopelessly unclear, and so flunk this test too.

       291.    The Cooperation Condition (C.IX.1.c) requires grant recipients to “honor requests

for cooperation, such as participation in joint operations, sharing of information, or requests for

short term detention of an alien pursuant to a valid detainer.” But the condition offers no

explanation of what “cooperation” might entail, what “joint operations” might be required, or what

“information” grant recipients are being asked to share, or whether “short term detention” extends

beyond normally scheduled release dates and times.

       292.    The Information Sharing (C.IX.1.a) and Compliance (C.IX.1.b) Conditions ask

grantees to certify compliance with various federal statutes, but do not explain DHS’s

interpretation of those statutes, leaving Plaintiff States in the dark on the nature and scope of the

obligations they would be undertaking in certifying. See, e.g., City & Cnty. San Francisco v.

Sessions, 349 F. Supp. 3d 924, 958 (N.D. Cal. 2018) (finding § 1373 compliance condition

violated the Spending Clause where “DOJ’s evolving interpretations of the [§ 1373] certification

condition further demonstrate ambiguities that prevent applicants from deciding whether to accept

the funds ‘cognizant of the consequences of their participation.’”), vacated in part on other

grounds sub nom. City & Cnty. of San Francisco v. Barr, 965 F.3d 753 (9th Cir. 2020).

       293.    The Benefits Condition—which requires States to certify that “[t]hey do not, and

will not during the term of this award, operate any program that benefits illegal immigrants or

incentivizes illegal immigration”—is likewise hopelessly ambiguous. Plaintiff States’ agencies

cannot possibly identify the many individuals (and their citizenship status) who might “benefit”

from one of the many programs they administer, let alone understand what DHS believes might

“incentivize[] illegal immigration.”



                                                    65
  Case 1:25-cv-00206         Document 1       Filed 05/13/25       Page 66 of 79 PageID #: 66




       294.    For reasons including but not limited to those summarized above, Plaintiff States

cannot accept the vague and unbounded Civil Immigration Conditions “knowingly, cognizant of

the consequences of their participation.” Dole, 483 U.S. at 207.

E.     The Civil Immigration Conditions Irreparably Harm the States.

       295.    The imposition of Defendants’ proposed Civil Immigration Conditions will

irreparably harm the Plaintiff States.

       296.    Plaintiff States have received and relied on funding from the preparedness grants,

the post-disaster public assistance grants, and other DHS grant programs for decades. With

individual grants open for years at a time, the Plaintiff States have closely integrated grant-funded

activities with their broader emergency preparedness and response budgets. The grant money pays

for police special operation teams, emergency operations personnel, disaster response vehicles,

cybersecurity software, and nonprofit security equipment. The Civil Immigration Conditions

would force Plaintiff States to choose between immediately shutting down those efforts and

leaving themselves more exposed to threats, disasters, and emergencies or allowing their law

enforcement to be conscripted by federal immigration authorities, sometimes in violation of state

law. These are irreparable harms that cannot be remedied through relief after the fact.

       297.    Should the Civil Immigration Conditions go into effect, Plaintiff States will lose

access to the funds that support these vital programs or otherwise cede control of state and local

law enforcement to federal immigration authorities. And many Plaintiff States will be unable to

successfully apply for or receive funding under the preparedness grants, the post-disaster public

assistance grants, and other DHS grant programs as long as the Conditions remain because the

grant terms conflict with state law.

       298.    Plaintiff States are, in other words, presented with an impossible choice: forego the

hundreds of millions of dollars in federal funds that Congress has appropriated and on which they




                                                 66
  Case 1:25-cv-00206         Document 1        Filed 05/13/25     Page 67 of 79 PageID #: 67




depend for critical emergency preparedness and response efforts, or face compulsory diversion of

limited law enforcement resources to enforce federal immigration law beyond what state law

allows or requires. And even if States agree, as noted above, they could unwittingly violate vague

terms. See supra ¶¶ 290-94. For example, the conditions purport to allow DHS to determine post

hoc whether recipients operate any program that “benefits illegal immigrants or incentivizes illegal

immigration.”

       299.     Accepting the Civil Immigration Conditions would also create unique additional

forms of irreparable harm for those Plaintiff States that have chosen to enact laws and policies that

seek to further trust that those States have cultivated between law enforcement and immigrant

communities. That loss of goodwill and trust cannot easily be restored once this litigation has

concluded. If those Plaintiff States accept the Civil Immigration Conditions, thousands more

crimes will go unreported each year, with those Plaintiff States unable to bring the perpetrators to

justice. Members of immigrant communities will be less likely to help police officers, detectives,

and prosecutors investigate crimes and press charges. The result will be—among other ills—more

violent crime, trafficking in illegal guns and drugs, and ongoing, irreparable harm to public safety.

                                  FIRST CAUSE OF ACTION

                         Violation of the Administrative Procedure Act
                           Arbitrary and Capricious Agency Action

       300.     Plaintiffs reallege and incorporate by reference the allegations set forth in each of

the preceding paragraphs.

       301.     Under the APA, a court must set aside final agency action that is “arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with the law,” 5 U.S.C.

§ 706(2)(A); see Motor Vehicle Mfrs. Ass’n v. State Farm Mutual Automobile Ins. Co., 463 U.S.

29, 52 (1983) (agency action must be supported by a “rational connection between the facts found

and the choice made”); FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009) (agency



                                                 67
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 68 of 79 PageID #: 68




must provide “reasoned explanation” for departing from prior policy and must provide “a more

detailed justification than what would suffice for a new policy” when “its prior policy has

engendered serious reliance interests that must be taken into account”); accord FDA v. Wages &

White Lion Invs., LLC, 145 S. Ct. 898, 917 (2025).

       302.    DHS failed to comply with these bedrock requirements in multiple respects. First,

DHS failed to consider “an important aspect of the problem,” State Farm, 463 U.S. at 4: whether

the federal grant statutes that Congress created and charged it with administering actually allowed

it to condition access to grant funds on Plaintiff States’ agreeing to lend state resources to federal

immigration enforcement. DHS here made no effort whatsoever to ascertain whether these grant

statutes permitted it to impose the Civil Immigration Conditions, instead simply imposing an

across-the-board set of terms and conditions that fundamentally alter the nature of the grant

programs at issue. Its failure to even consider the legality of its actions violates the APA.

       303.    Second, DHS “failed to address whether there was ‘legitimate reliance’ on” the

existing funding landscape—which there was. DHS v. Regents of Univ. of Cal., 591 U.S. 1, 30

(2020). Plaintiff States rely on the annual receipt of funds that the Civil Immigration Conditions

now endanger, relying on billions of dollars in federal funding annually to support critical

programs like terrorism prevention, emergency management, disaster relief, and infrastructure

protection. DHS not only failed to “weigh” these longstanding and substantial reliance interests

“against competing policy concerns,” it simply “ignore[d]” them. Regents, 591 U.S. at 30-33.

       304.    Third, DHS likewise “entirely failed to consider” the adverse impact on criminal

enforcement and public safety if States were to adhere to the Civil Immigration Conditions. State

Farm, 463 U.S. at 43. Under those conditions, States “must agree that they will comply” with

requirements “related to coordination and cooperation with [DHS] and immigration officials.” But

some States limit their participation in federal civil immigration enforcement to “build trust



                                                 68
  Case 1:25-cv-00206         Document 1         Filed 05/13/25    Page 69 of 79 PageID #: 69




between their law enforcement agencies and immigrant communities and ensure that noncitizens

feel comfortable reporting crimes, cooperating with investigators, and serving as witnesses.”

Providence, 954 F.3d at 30. DHS altogether failed to weigh that interest against its own policy

preferences. It violated the APA in doing so.

       305.    The Civil Immigration Conditions will cause harm to Plaintiffs and their residents.

                                SECOND CAUSE OF ACTION

                    Ultra Vires Agency Action Not Authorized by Congress

       306.    Plaintiffs reallege and incorporate by reference the allegations set forth in each of

the preceding paragraphs.

       307.    An executive agency “has no power to act . . . unless and until Congress confers

power upon it.” La. Pub. Serv. Comm’n, 476 U.S. at 374.

       308.    Defendants may exercise only that authority which is conferred by statute. See City

of Arlington v. FCC, 569 U.S. 290, 297 (2013) (federal agencies’ “power to act and how they are

to act is authoritatively prescribed by Congress, so that when they act improperly, no less than

when they act beyond their jurisdiction, what they do is ultra vires”).

       309.    Federal courts possess the power in equity to grant injunctive relief “with respect

to violations of federal law by federal officials.” Armstrong v. Exceptional Child Ctr., Inc., 575

U.S. 320, 326-27 (2015). Indeed, the Supreme Court has repeatedly allowed equitable relief

against federal officials who act “beyond th[e] limitations” imposed by federal statute. Larson v.

Domestic & Foreign Com. Corp., 337 U.S. 682, 689 (1949).

       310.    Defendants lack the statutory authority to impose the Civil Immigration Conditions.

No provision of DHS’s authorizing statutes authorizes the agency to impose these terms, and the

statutes authorizing Defendants to administer specific grant programs also preclude their

imposition.




                                                  69
  Case 1:25-cv-00206         Document 1        Filed 05/13/25       Page 70 of 79 PageID #: 70




       311.    In imposing the Civil Immigration Conditions, Defendants exceeded the statutory

authority granted to DHS by Congress. The Civil Immigration Conditions are therefore ultra vires

executive agency actions.

       312.    The Civil Immigration Conditions will cause harm to Plaintiffs and their residents.

                                  THIRD CAUSE OF ACTION

                          Violation of Administrative Procedure Act
                        Agency Action in Excess of Statutory Authority

       313.    Plaintiffs reallege and incorporate by reference the allegations set forth in each of

the preceding paragraphs.

       314.    The APA requires that a court set aside agency action that is “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C).

       315.    Defendants lack the statutory authority to impose the Civil Immigration Conditions.

No provision of DHS’s authorizing statutes authorizes the agency to impose these terms, and the

statutes authorizing Defendants to administer specific grant programs also preclude their

imposition.

       316.    In imposing the Civil Immigration Conditions, Defendants exceeded the statutory

authority granted to DHS by Congress. The Civil Immigration Conditions therefore must be set

aside under the APA.

       317.    The Civil Immigration Conditions will cause harm to Plaintiffs and their residents.

       318.    Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiffs are entitled to a

declaration that Defendants lack authority to impose the Civil Immigration Conditions, and a

permanent injunction preventing the Defendants from putting those conditions into effect.

                                 FOURTH CAUSE OF ACTION

                                Violation of the U.S. Constitution
                                        Spending Clause




                                                  70
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 71 of 79 PageID #: 71




       319.    Plaintiffs reallege and incorporate by reference the allegations set forth in each of

the preceding paragraphs.

       320.    The Constitution vests the spending power in Congress, not the President or any

executive agency. U.S. Const. art. I § 8, cl. 1.

       321.    Even if Congress had delegated the authority to Defendants to impose the Civil

Immigration Conditions, the U.S. Constitution prohibits grant conditions that are “so coercive as

to pass the point at which pressure turns into compulsion.” South Dakota v. Dole, 483 U.S. 203,

211 (1987). Furthermore, the U.S. Constitution prohibits imposing condition on federal grant

programs that are wholly unrelated to the purpose of the programs. Id. at 207-08. Finally, the U.S.

Constitution permits only unambiguous federal funding conditions. Id. at 207. These limits

“ensur[e] that Spending Clause legislation does not undermine the status of the States as

independent sovereigns in our federal system,” Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S.

519, 577 (2012), as embodied in the Tenth Amendment.

       322.    DHS’s attempt to impose the Civil Immigration Conditions violates all these

constitutional limits. First, DHS’s threat to restrict all agency funding to Plaintiff States “is much

more than ‘relatively mild encouragement’—it is a gun to the head” for Plaintiff States. NFIB, 567

U.S. at 581 (opinion of Roberts, C.J.); see also id. (holding threats to funding as coercive in

violation of the Spending Clause because a State “stands to lose not merely ‘a relatively small

percentage’” of funding from the agency, “but all of it”). Plaintiff States receive over $1 billion

annually in funding from FEMA preparedness grants, based on the sums they were allocated in

FY2024 from the SHSP, UASI, EMPG, SLCGP, and NSGP programs. And FEMA has obligated

over $22 billion to the Plaintiff States in disaster relief funding since 2017, amounting to an annual

average of over $2 billion per year.




                                                   71
  Case 1:25-cv-00206           Document 1        Filed 05/13/25     Page 72 of 79 PageID #: 72




       323.       Second, the Civil Immigration Conditions are not related to the federal interest in

the projects to which they are attached—namely, Congress’s long commitment to furthering state

emergency preparedness and relief purposes. See Dole, 483 U.S. at 207-08.

       324.       Finally, the Civil Immigration Conditions are impermissibly vague. See Pennhurst,

451 U.S. at 17.

       325.       Federal courts possess the power in equity to “grant injunctive relief . . . with

respect to violations of federal law by federal officials.” Armstrong, 575 U.S. at 327. “[T]he

President’s actions may . . . be reviewed for constitutionality.” Franklin v. Massachusetts, 505

U.S. 788, 801 (1992). Plaintiff States are “entitled to invoke the equitable jurisdiction to restrain

enforcement” of unconstitutional acts by federal officials, including “executive orders.” Panama

Ref. Co. v. Ryan, 293 U.S. 388, 414 (1935).

       326.       As a direct and proximate result of DHS’s action, Plaintiffs will be required either

to accept the unlawful and unconstitutional Civil Immigration Conditions or forego receiving grant

funds that are necessary to support critical emergency preparedness and emergency response

programs and initiatives in Plaintiff States.

       327.       The Civil Immigration Conditions will cause harm to Plaintiffs and their residents.

                                    FIFTH CAUSE OF ACTION

                            Violation of Administrative Procedure Act
                          Agency Action Contrary to Constitutional Right

       328.       Plaintiffs reallege and incorporate by reference the allegations set forth in each of

the preceding paragraphs.

       329.       The APA requires that a court set aside agency action that is “contrary to

constitutional right, power, privilege, or immunity.” 5 U.S.C. § 706(2)(B).

       330.       The Civil Immigration Conditions violate the Spending Clause, for the reasons set

out above. Supra ¶¶ 320-24.



                                                   72
  Case 1:25-cv-00206         Document 1        Filed 05/13/25      Page 73 of 79 PageID #: 73




       331.   The Civil Immigration Conditions will cause harm to Plaintiffs and their residents.

       332.   Pursuant to 5 U.S.C. § 706 and 28 U.S.C. § 2201, Plaintiffs are entitled to a

declaration that Defendants lack authority to impose the Civil Immigration Conditions, and a

permanent injunction preventing the Defendants from putting those conditions into effect

                                    PRAYER FOR RELIEF

WHEREFORE, the Plaintiffs pray that the Court:

       a. Declare that the Defendants’ promulgation of the Civil Immigration Conditions on

           receipt of funds under the grant programs they administer are contrary to the

           Constitution and laws of the United States;

       b. Declare that the adoption of the Civil Immigration Conditions and any actions taken by

           Defendants agencies to implement or enforce them violate the Administrative

           Procedure Act;

       c. Preliminarily and permanently enjoin Defendants from implementing or enforcing the

           Civil Immigration Conditions against Plaintiff States, including their subdivisions and

           instrumentalities, as to any grant program administered by Defendants;

       d. Vacate the Defendants’ adoption of the Civil Immigration Conditions, and any actions

           taken by Defendants to implement or enforce them;

       e. Issue a writ of mandamus or, in the alternative, preliminary and permanent mandatory

           injunctive relief compelling Defendants to immediately send notices of funding

           opportunity and award letters that do not include the Civil Immigration Conditions to

           Plaintiff States, their subdivisions, and their instrumentalities, as appropriate;

       f. Retain jurisdiction to monitor Defendants’ compliance with this Court’s judgment;

       g. Award the States their reasonable fees, costs, and expenses, including attorneys’ fees,

           pursuant to 28 U.S.C. § 2412; and




                                                 73
  Case 1:25-cv-00206        Document 1     Filed 05/13/25      Page 74 of 79 PageID #: 74




       h. Award such additional relief as this Court may deem just and proper.


May 13, 2025                                   Respectfully submitted,

ROB BONTA                                      KWAME RAOUL
 ATTORNEY GENERAL OF CALIFORNIA                 ATTORNEY GENERAL OF ILLINOIS

Michael L. Newman*                             /s/ Alex Hemmer
  Senior Assistant Attorney General            Alex Hemmer*
Joel Marrero*                                    Deputy Solicitor General
James E. Stanley*                              Christopher G. Wells*
  Supervising Deputy Attorneys General           Chief of the Public Interest Division
Luke Freedman*                                 Darren Kinkead*
Newton Knowles*                                  Public Interest Counsel
Christopher Medeiros*                          R. Sam Horan*
Alexis Piazza*                                 Michael M. Tresnowski*
Deylin Thrift-Viveros*                         R. Henry Weaver*
Delbert Tran*                                    Assistant Attorneys General
  Deputy Attorneys General                     Office of the Illinois Attorney General
                                               115 LaSalle Street
/s/ Lee I. Sherman                             Chicago, IL 60603
Lee I. Sherman*                                (773) 590-7932
  Deputy Attorney General                      alex.hemmer@ilag.gov
California Department of Justice
300 South Spring Street, Suite 1702            Attorneys for the State of Illinois
Los Angeles, CA 90013
(213) 269-6000
lee.sherman@doj.ca.gov

Attorneys for the State of California




                                              74
  Case 1:25-cv-00206        Document 1   Filed 05/13/25    Page 75 of 79 PageID #: 75




MATTHEW J. PLATKIN                          PETER F. NERONHA
 ATTORNEY GENERAL OF NEW JERSEY              ATTORNEY GENERAL OF RHODE ISLAND

/s/ Shankar Duraiswamy                      /s/ Keith D. Hoffmann
Shankar Duraiswamy*                         Keith D. Hoffmann (RI Bar No. 9874)
  Deputy Solicitor General                    Chief of Policy
Mayur P. Saxena*                              Assistant Attorney General
  Assistant Attorney General                Kathryn M. Sabatini (R.I. Bar No. 8486)
Surinder K. Aggarwal*                          Chief, Civil Division
Anaiis Gonzalez*                               Special Assistant Attorney General
Christopher J. Ioannou*                     Paul Meosky (RI Bar No. 10742)
Olivia C. Mendes*                             Special Assistant Attorney General
Phoenix N. Meyers*                          Rhode Island Attorney General’s Office
Sarah Nealon*                               150 South Main Street
Daniel Resler*                              Providence, RI 02903
  Deputy Attorneys General                  (401) 274-4400, Ext. 1882
New Jersey Office of Attorney General       khoffmann@riag.ri.gov
25 Market Street, PO Box 093                pmeosky@riag.ri.gov
Trenton, NJ 08625-0093
(609) 376-2745                              Attorneys for the State of Rhode Island
shankar.duraiswamy@law.njoag.gov

Attorneys for the State of New Jersey


PHILIP J. WEISER                            WILLIAM TONG
 ATTORNEY GENERAL OF COLORADO                ATTORNEY GENERAL OF CONNECTICUT

/s/ David Moskowitz                         /s/ Ashley Meskill
David Moskowitz*                            Ashley Meskill*
  Deputy Solicitor General                    Assistant Attorney General
Colorado Department of Law                  Connecticut Office of the Attorney General
1300 Broadway, #10                          165 Capitol Avenue
Denver, CO 80203                            Hartford, CT 06106
(720) 508-6000                              (860) 808-5270
david.moskowitz@coag.gov                    ashley.meskill@ct.gov

Attorneys for the State of Colorado         Attorneys for the State of Connecticut




                                           75
  Case 1:25-cv-00206        Document 1   Filed 05/13/25    Page 76 of 79 PageID #: 76




KATHLEEN JENNINGS                           ANNE E. LOPEZ
 ATTORNEY GENERAL OF DELAWARE                ATTORNEY GENERAL OF HAWAIʻI

/s/ Ian R. Liston                           /s/ Kalikoʻonālani D. Fernandes
Ian R. Liston*                              David D. Day*
  Director of Impact Litigation               Special Assistant to the Attorney General
Vanessa L. Kassab*                          Kalikoʻonālani D. Fernandes*
  Deputy Attorney General                     Solicitor General
Delaware Department of Justice              Department of the Hawaiʻi Attorney General
820 North French Street                     425 Queen Street
Wilmington, DE 19801                        Honolulu, HI 96813
(302) 683-8899                              (808) 586-1360
ian.liston@delaware.gov                     david.d.day@hawaii.gov
                                            kaliko.d.fernandes@hawaii.gov
Attorneys for the State of Delaware
                                            Attorneys for the State of Hawaiʻi


AARON M. FREY                               ANTHONY G. BROWN
 ATTORNEY GENERAL OF MAINE                   ATTORNEY GENERAL OF MARYLAND

/s/ Vivian A. Mikhail                       /s/ James C. Luh
Vivian A. Mikhail*                          James C. Luh*
  Deputy Attorney General                     Senior Assistant Attorney General
Office of the Maine Attorney General        Office of the Maryland Attorney General
6 State House Station                       200 Saint Paul Place
Augusta, ME 04333-0006                      20th Floor
(207) 626-8800                              Baltimore, MD 21202
vivian.mikhail@maine.gov                    (410) 576-6411
                                            jluh@oag.state.md.us
Attorneys for the State of Maine
                                            Attorneys for the State of Maryland




                                           76
  Case 1:25-cv-00206        Document 1     Filed 05/13/25       Page 77 of 79 PageID #: 77




ANDREA JOY CAMPBELL                             DANA NESSEL
 ATTORNEY GENERAL OF MASSACHUSETTS               ATTORNEY GENERAL OF MICHIGAN

/s/ Hannah C. Vail                              /s/ Neil Giovanatti
Katherine Dirks*                                Neil Giovanatti*
  Chief State Trial Counsel                     Adam de Bear*
Hannah C. Vail*                                   Assistant Attorneys General
  Assistant Attorney General                    Michigan Department of Attorney General
Office of the Massachusetts Attorney General    525 W. Ottawa Street
1 Ashburton Place                               Lansing, MI 48909
Boston, MA 02108                                (517) 335-7603
(617) 963-2512                                  GiovanattiN@michigan.gov
katherine.dirks@mass.gov                        deBearA@michigan.gov
hannah.vail@mass.gov
                                                Attorneys for the People of the State of
Attorneys for the Commonwealth of                Michigan
  Massachusetts


KEITH ELLISON                                   AARON D. FORD
 ATTORNEY GENERAL OF MINNESOTA                   ATTORNEY GENERAL OF NEVADA

/s/ Brian S. Carter                             /s/ Heidi Parry Stern
Brian S. Carter*                                Heidi Parry Stern*
  Special Counsel                                 Solicitor General
Minnesota Attorney General’s Office             Office of the Nevada Attorney General
445 Minnesota Street                            1 State of Nevada Way, Ste. 100
Suite 1400                                      Las Vegas, NV 89119
St. Paul, MN 55101                              hstern@ag.nv.gov
(651) 757-1010
brian.carter@ag.state.mn.us                     Attorneys for the State of Nevada

Attorneys for the State of Minnesota




                                               77
  Case 1:25-cv-00206        Document 1   Filed 05/13/25    Page 78 of 79 PageID #: 78




RAÚL TORREZ                                 LETITIA JAMES
 ATTORNEY GENERAL OF NEW MEXICO              ATTORNEY GENERAL OF NEW YORK

/s/ Steven Perfrement                       /s/ Julie Dona
Steven Perfrement*                          Julie Dona*
  Senior Litigation Counsel                   Special Counsel
New Mexico Department of Justice            Zoe Levine*
P.O. Drawer 1508                              Special Counsel for Immigrant Justice
Santa Fe, NM 87504-1508                     Rabia Muqaddam*
(505) 490-4060                                Special Counsel for Federal Initiatives
sperfrement@nmdoj.gov                       Office of the New York State Attorney General
                                            28 Liberty Street
Attorneys for the State of New Mexico       New York, NY 10005
                                            (212) 416-8494
                                            julie.dona@ag.ny.gov

                                            Attorneys for the State of New York


DAN RAYFIELD                                CHARITY R. CLARK
 ATTORNEY GENERAL OF OREGON                  ATTORNEY GENERAL OF VERMONT

/s/ Thomas H. Castelli                      /s/ Julio A. Thompson
Thomas H. Castelli*                         Julio A. Thompson*
  Senior Assistant Attorney General           Co-Director, Civil Rights Unit
Oregon Department of Justice                Officer of the Vermont Attorney General
100 SW Market Street                        109 State Street
Portland, OR 97201                          Montpelier, VT 05609
(971) 673-1880                              (802) 828-5519
thomas.castelli@doj.oregon.gov              julio.thompson@vermont.gov

Attorneys for the State of Oregon           Attorneys for the State of Vermont




                                           78
  Case 1:25-cv-00206       Document 1     Filed 05/13/25    Page 79 of 79 PageID #: 79




NICHOLAS W. BROWN                            JOSHUA L. KAUL
 ATTORNEY GENERAL OF WASHINGTON               ATTORNEY GENERAL OF WISCONSIN

/s/ Tyler Roberts                            /s/ Frances Reynolds Colbert
Tyler Roberts*                               Frances Reynolds Colbert*
Benjamin Seel*                                 Assistant Attorney General
Cristina Sepe*                               Wisconsin Department of Justice
Marsha Chien*                                Post Office Box 7857
  Assistant Attorneys General                Madison, WI 53707-7857
Washington State Office of the Attorney      (608) 266-9226
  General                                    frances.colbert@wisdoj.gov
800 Fifth Avenue
Suite 2000                                   Attorneys for the State of Wisconsin
Seattle, WA 98104-3188
(206) 464-7744
Tyler.Roberts@atg.wa.gov
Benjamin.Seel@atg.wa.gov
Cristina.Sepe@atg.wa.gov
Marsha.Chien@atg.wa.gov

Attorneys for the State of Washington


* pro hac vice applications forthcoming




                                            79
